                                                                                         1



   1                           UNITED STATES BANKRUPTCY COURT

   2                          NORTHERN DISTRICT OF CALIFORNIA

   3                                             -oOo-

   4     In Re:                                   ) Case No. 19-30088
                                                  ) Chapter 11
   5     PG&E CORPORATION AND PACIFIC             )
         GAS AND ELECTRIC COMPANY                 ) San Francisco, California
   6                                              ) Friday, May 29, 2020
                             Debtors.             ) 10:00 AM
   7     _____________________________            )
                                                    CONFIRMATION HEARING
   8
                                  TRANSCRIPT OF PROCEEDINGS
   9                         BEFORE THE HONORABLE DENNIS MONTALI
                               UNITED STATES BANKRUPTCY JUDGE
  10
         APPEARANCES (Via Zoom):
  11     For the Debtors:                       STEPHEN KAROTKIN, ESQ.
                                                RICHARD W. SLACK, ESQ.
  12                                            THEODORE E. TSEKERIDES, ESQ.
                                                Weil, Gotshal, & Manges, LLP
  13                                            767 Fifth Avenue
                                                New York, NY 10153
  14                                            (212)310-8000

  15     For Official Committee of              ROBERT A. JULIAN, ESQ.
         Tort Claimants:                        Baker and Hostetler LLP
  16                                            600 Montgomery Street
                                                Suite 3100
  17                                            San Francisco, CA 94111
                                                (415)659-2600
  18
         For United States of                   MATTHEW J. TROY, ESQ.
  19     America:                               United States
                                                Department of Justice
  20                                            Civil Division
                                                P.O. Box 875 Ben Franklin Station
  21                                            Washington, DC 20044-0875

  22     For Securities Lead                    MICHAEL S. ETKIN, ESQ.
         Plaintiff Public Employees             Lowenstein Sandler LLP
  23     Retirement Association of              One Lowenstein Drive
         New Mexico:                            Roseland, NJ 07068
  24                                            (973)597-2500

  25

Case: 19-30088   Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 1 of
                                          92
                                                                                        2



   1     For Andy R. Vara, United              GREG M. ZIPES, ESQ.
         States Trustee:                       United States
   2                                           Department of Justice
                                               Office of the U.S. Trustee
   3                                           450 Golden Gate Avenue
                                               Suite 05-0153
   4                                           San Francisco, CA 94102
                                               (415)705-3333
   5
         For William B. Abrams,                WILLIAM B. ABRAMS
   6     Individual and Tubbs Fire             1519 Branch Owl Place
         Claimant:                             Santa Rosa, CA 95409
   7                                           (707)397-5727

   8     Also Present:                         Mary Wallace
                                               Individual Fire Claimant
   9

  10

  11

  12

  13

  14

  15

  16

  17
         Court Recorder:                       LORENA PARADA/ANKEY THOMAS
  18                                           United States Bankruptcy
                                               Court
  19                                           450 Golden Gate Ave.
                                               San Francisco, CA 94102
  20

  21     Transcriber:                          eScribers, LLC
                                               7227 N. 16th Street
  22                                           Suite #207
                                               Phoenix, AZ 85020
  23                                           (973)406-2250

  24     Proceedings recorded by electronic sound recording;
         transcript provided by transcription service.
  25

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 2 of
                                         92
                                                                                           3

                 PG&E Corporation and Pacific Gas and Electric Company

   1         SAN FRANCISCO, CALIFORNIA, FRIDAY, MAY 29, 2020, 10:00 AM

   2                                            -oOo-

   3             (Call to order of the Court.)

   4                 THE CLERK:      This is the bankruptcy court for the

   5     Northern District of California.             Court is now in session.           The

   6     Honorable Dennis Montali presiding.

   7                 THE COURT:      Good morning, Ms. Parada.           Can you see me

   8     and hear me?

   9                 THE CLERK:      Good morning, Your Honor.           Yes, I can.

  10                 THE COURT:      All right.       Good morning.

  11                 THE CLERK:      I'm bringing counsel in now.

  12                 THE COURT:      Yes, please.       Good morning, Mr. Karotkin.

  13                 MR. KAROTKIN:       Good morning, Your Honor.

  14                 MR. SLACK:      Good morning, Your Honor.

  15                 THE COURT:      Mr. Slack has his coat on, but he -- yeah,

  16     that's all right.        I've got my uniform on again.

  17                 Mr. Tsekerides, good morning.

  18                 MR. TSEKERIDES:        Good morning.

  19                 THE COURT:      I can't hear you very well.             Are you all

  20     hearing Mr. Tsekerides well?            Ms. Parada, can you?

  21                 THE CLERK:      Yes, Your Honor.

  22                 MR. TSEKERIDES:        Let me try that again.

  23                 THE COURT:      Yes, that's a little better.

  24                 MR. TSEKERIDES:        Better?

  25                 THE COURT:      Yeah, better.       There's Ms. Pullo.        Good

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 3 of
                                          92
                                                                                        4

                 PG&E Corporation and Pacific Gas and Electric Company

   1     morning.

   2                MS. PULLO:      Good morning.

   3                THE CLERK:      Would you like me to bring in Ms. Wallace,

   4     Your Honor?

   5                THE COURT:      Yes, please.       And I'm going to make a

   6     couple of announcements while we're doing that, and I have a

   7     couple -- good morning, Mr. Julian.

   8                MR. JULIAN:      Good morning.

   9                THE COURT:      -- a couple of questions for you in a

  10     moment, Mr. Karotkin, but a couple of announcements.                   Hopefully

  11     later today, but possibly not until tomorrow, I expect to have

  12     an order issued regarding the disagreement between the TCC and

  13     Mr. Abrams about exhibits and witnesses.               And probably on

  14     Sunday, but maybe Monday, I will have a second order that will

  15     be responsive to the statement filed yesterday by Mr. Karotkin

  16     or the debtor, I can't remember who signed it, concerning

  17     timing for the debtors' opening arguments, and I will be making

  18     some time allocations and indications of things, and maybe even

  19     frame a couple of questions in an order that I intend to issue

  20     on no later than Monday.

  21                And just a reminder, we have one witness scheduled on

  22     Monday.    We have no PG&E calendar on Tuesday.              Believe it or

  23     not, I have a calendar on another matter, and I expect that I,

  24     at least, or perhaps lots of other counsel, will want to be

  25     gathering their thoughts and preparing their arguments, and

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 4 of
                                         92
                                                                                         5

                 PG&E Corporation and Pacific Gas and Electric Company

   1     we'll start the argument session on the morning of Wednesday

   2     the 3rd.

   3                And for those of you that are -- you'll remember,

   4     there's a motion on the calendar for the 4th regarding request

   5     for appointment of an examiner.            I may move that time slightly

   6     but the plan will be to start with that hearing -- and when I

   7     say move it, it might move by a half-an-hour, nothing more --

   8     and then we will go directly into the next phase, whatever

   9     we're doing next on the oral arguments.              And then once I hear

  10     the request from the various counsel about estimated times, I

  11     will be more specific about that.

  12                The other thing is really more about me and my staff.

  13     Those of you that have tolerated me for all of this case and

  14     for all the years before that, think I'm old-fashioned because

  15     I like chambers copies.         Well, the stay-at-home order and COVID

  16     has changed everything, and my staff that does go into our

  17     building tells me we have mountains of chambers copies, all

  18     designated for me, not for any of the other judges.                  So guess

  19     what, you're off the hook, no chambers copies anymore, at least

  20     until we're back to normal, whenever that is, and there's no

  21     punishment if you send them, but they're going directly into

  22     recycling.

  23                Now questions.       Mr. Karotkin, you told me you wanted

  24     about two-and-a-half hours on argument.              I assume that's for

  25     opening, and that you're just reserving for now any closing

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 5 of
                                         92
                                                                                         6

                 PG&E Corporation and Pacific Gas and Electric Company

   1     arguments, right?

   2                 MR. KAROTKIN:       Yes, sir, that would be to address our

   3     burden, as well as the objections.

   4                 THE COURT:      Yeah, I mean after you hearing the timing,

   5     I assume you'll give me an estimate of what time you want for

   6     closing.

   7                 And the other question for you is, are you

   8     anticipating filing an update on the schedule or the table of

   9     pending objections?

  10                 MR. KAROTKIN:       Yes, we will do that, sir.

  11                 THE COURT:      When?

  12                 MR. KAROTKIN:       We'll try to do that by Monday.

  13                 THE COURT:      Okay.      Yeah, I mean, well again, this

  14     helps me not only to prepare, but also to figure out how

  15     critical it is for counsel who want to argue.                 So the best --

  16     the sooner the better, but do what you can do.                 I mean, I can

  17     only do so much, and you can only do so much.

  18                 MR. KAROTKIN:       Yes, sir.      Thank you.

  19                 THE COURT:      All right.      Ms. Parada, I see you've

  20     brought Ms. Wallace into the room.              Ms. Wallace, or -- can you

  21     hear me, Ms. Wallace?         All right.       Ms. Parada, can you unmute

  22     her?    There.      Ms. Wallace, can you hear me?

  23                 No, now she's muted again.            Ms. Parada, are you

  24     unmuting?    Can you unmute her or does she have to?

  25                 THE CLERK:      No, Your Honor, I can only request that

Case: 19-30088   Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 6 of
                                          92
                                                                                         7

                                          Pullo - Direct

   1     she unmute herself.

   2                 THE COURT:      All right.      Now, Ms. Wallace --

   3                 MS. WALLACE:       Can you hear me?

   4                 THE COURT:      Can you hear me now, Ms. Wallace?

   5                 MS. WALLACE:       I can hear you.

   6                 THE COURT:      Okay.      At your request, Ms. Pullo is back

   7     to be questioned.        Ms. Pullo is on the screen.           You can't see

   8     her if you're not looking at a video, but she see me, and she

   9     can hear me and you.         She was previously sworn as a witness, so

  10     I am not going to ask her to take the oath again.                   I'm going to

  11     permit you to go ahead and ask her questions.                 And my

  12     recollection is you requested I think ten minutes, or maybe

  13     fifteen, but I will let you go ahead.               So please proceed.

  14             (Witness previously sworn.)

  15                 MS. WALLACE:       Good morning, everyone, and good

  16     morning, Ms. Pullo.         My name is Mary Wallace.          I'm a pro per

  17     litigant in this case.          I lost my property in Magalia ,

  18     California due to the 2018 Camp Fire.               I may go over -- a

  19     little over my estimate of my ten minutes, I'll be as

  20     respectful as I can of the Court's time.

  21                 And if I experience any technical difficulties, Judge,

  22     Helen Sedwick is on the call, who has a copy of my questions.

  23     Would she be able to complete the questions for me?

  24                 THE COURT:      Well, let's see how well you're doing, and

  25     let's worry about that later.             Go ahead and --

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 7 of
                                          92
                                                                                        8

                                         Pullo - Direct

   1                 MS. WALLACE:      Oh --

   2                 THE COURT:     -- ask your questions.

   3                 MS. WALLACE:      -- okay.

   4                              RESUMED CROSS-EXAMINATION

   5     BY MS. WALLACE:

   6     Q.      So my first question is in reference to page 1, line 22 to

   7     28 regarding solicitation of votes, and tabulation of votes.

   8     Is it your duty or responsibility to make sure all fire victims

   9     receive ballot packages?

  10     A.      Which documents are we referring to?

  11     Q.      The ballot packet, Ms. --

  12                 THE COURT:     I think she's referring to your

  13     declaration, Ms. Pullo.         You had it with you the other day.

  14                 THE WITNESS:      Okay.

  15                 THE COURT:     Do you have it again today?

  16                 THE WITNESS:      Yes, I do.

  17                 THE COURT:     Ms. Wallace, say again, the page number.

  18                  MS. WALLACE:      It's page 1, line 22 to 28 regarding

  19     solicitation of votes, and tabulation of votes.

  20                 THE COURT:     All right.      Did you understand the

  21     question, Ms. Pullo?

  22                 THE WITNESS:      Can you please repeat the question?

  23     BY MS. WALLACE:

  24     Q.      Is it your duty or responsibility to make sure all fire

  25     victims receive ballot packages?

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 8 of
                                         92
                                                                                          9

                                         Pullo - Direct

   1     A.      It is Prime Clerk's duty to comply with the solicitation

   2     procedures order, and send materials to all those entitled to

   3     receive ballot packages.

   4     Q.      So that would be a yes?

   5                 MR. SLACK:     Objection to the form, Your Honor.

   6                 THE COURT:     Well, she answered the question.             That's

   7     the answer.

   8                 MS. WALLACE:      Okay.

   9                 THE COURT:     I'll leave it at that.

  10                 MS. WALLACE:      Okay, thank you.

  11     BY MS. WALLACE:

  12     Q.      Do you have 100 percent certainty that all fire victim

  13     claimants received their ballot packages before the betting --

  14     voting deadline?

  15     A.      I have my certificate of service saying that we sent out

  16     the back -- ballot packages to all those entitled to receive

  17     ballot packages.

  18     Q.      How would a fire victim determine whether his or her vote

  19     was accurately counted?

  20     A.      We complied with the solicitation procedures order to

  21     tabulate all valid ballots received, and that is reflected in

  22     my vote declaration.

  23     Q.      The next series of questions is referencing page 5,

  24     line -- number -- paragraph number 8, 1 through 10.                  And it is

  25     in regards to -- was in accordance with solicitation

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 9 of
                                         92
                                                                                       10

                                         Pullo - Direct

   1    procedures.

   2                 THE COURT:     Do you have that reference, Ms. Pullo?

   3                 THE WITNESS:      Yes.

   4                 THE COURT:     Okay.       Sorry, what's the question, Ms.

   5    Wallace?

   6    BY MS. WALLACE:

   7    Q.       Were you or Prime Clerk ever informed that many never

   8    received the ballots at all?

   9    A.       We received requests for people requesting replacement

  10    ballots.

  11    Q.       But did you -- the question was ever -- were you informed

  12    that they didn't receive the ballots at all?

  13                 MR. SLACK:     Objection to the form.

  14                 THE COURT:     Well, Ms. Wallace, she just answered the

  15    question.      She said "we", meaning her company, received

  16    requests for replacement.           So if --

  17                 MS. WALLACE:      Okay.

  18                 THE COURT:     -- go ahead.       And if you want to follow-up

  19    on a question, you're welcome to ask her more specifically

  20    about what she --

  21    BY MS. WALLACE:

  22    Q.       Do you know how many people had never -- did not receive

  23    their ballots?

  24                 MR. SLACK:     Objection to the form.

  25                 THE COURT:     Ms. Parada, I just lost my video.             Can you

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 10
                                        of 92
                                                                                             11

                                             Pullo - Direct

   1    hear me?

   2                    THE CLERK:     Yeah, yes, Your Honor, I can hear you and

   3    see you.

   4                    THE COURT:     Let's see what's going on with my -- well,

   5    I am glad you can see --

   6                    MR. KAROTKIN:        Not now.

   7                    MR. SLACK:   Not anymore.

   8                    THE CLERK:     No.     One moment while we connect Judge

   9    Montali.

  10                    THE COURT:     All right.       After that -- sorry, everyone.

  11    I have no idea what happened.              I didn't disconnect on my own

  12    like I did last time.

  13                    Ms. Wallace, can you hear me?

  14                    MS. WALLACE:     Yes, I can, sir.

  15                    THE COURT:     All right.       I apologize to everybody.        I

  16    don't know what happened, but I think you were asking Ms. Pullo

  17    about did they get requests for replacement ballots.                     So go

  18    ahead and restate the question.                 I don't expect you to remember

  19    everything that I can't -- when I wasn't there.

  20    BY MS. WALLACE:

  21    Q.       Yes.    I think I was asking of those that didn't receive

  22    the ballot, do you know how many receive a ballot?

  23    A.       I only know of people that made requests for replacement

  24    ballots.

  25    Q.       And do you know how many made requests for replacement

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 11
                                         of 92
                                                                                         12

                                         Pullo - Direct

   1    ballots?

   2    A.       We probably received about -- I'd be speculating.                I don't

   3    know how exactly how many.

   4    Q.       Ten, twenty, thirty, 100?

   5    A.       I would say maybe -- maybe 100 to 150.

   6    Q.       Were you informed, and had reasonable knowledge that some

   7    were receiving the voting package as late as May 20th?

   8    A.       I -- we received inquiries from people stating that they

   9    had just received voting packages.

  10    Q.       That's after the voting deadline?

  11    A.       Yes, we received some inquiries saying -- stating that.

  12    Q.       Do you know how many inquiries you received?

  13    A.       A handful after the voting deadline.

  14    Q.       So a half-a-dozen people, five people?

  15    A.       I'd be speculating, but it was not an un -- a high amount.

  16    Q.       Do you know why some people received their package after

  17    the voting deadline?

  18    A.       I can only say that we sent out the materials.                I can't

  19    speculate as to why people didn't receive them.

  20    Q.       So you don't know how many received their packages after

  21    the voting deadline.

  22             Were you informed and had reasonable knowledge that I

  23    repeatedly requested information from you and, in fact, did not

  24    receive the plan and voting package until after the voting

  25    deadline?

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 12
                                        of 92
                                                                                        13

                                          Pullo - Direct

   1    A.       I know that you requested materials, you received them

   2    electronically, and we sent out the materials in accordance

   3    with the solicitation procedures.               I, as reflected in the

   4    certificate of service, we did send hard copy materials, but I

   5    can't speculate as to why you didn't receive them.

   6    Q.       Do you know that, on my original proof of claim, I stated

   7    that I wanted all documents received in writing?

   8    A.       Yes.

   9    Q.       But you decided to send it electronically?

  10                    MR. SLACK:   Objection to the form.

  11                    THE COURT:     You can answer, Ms. Pullo.

  12    A.       We sent you hard copy versions of the materials, as

  13    reflected in the certificate of service.                 In addition to that,

  14    we also sent them electronically.

  15    BY MS. WALLACE:

  16    Q.       Do you know when I received that certificate of service?

  17                    MR. SLACK:   Objection to the form.

  18                    THE COURT:     Ms. Wallace, you wouldn't have received

  19    the certificate of service.

  20                    MS. WALLACE:     Okay.    Okay.    Sorry, I can rephrase

  21    that.

  22    BY MS. WALLACE:

  23    Q.       Do you know that I received my voting package on May 16th?

  24    A.       I was not aware of when you received your package.

  25    Q.       And are you aware that I received that package directly

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 13
                                         of 92
                                                                                       14

                                         Pullo - Direct

   1    from Ankey?

   2                 THE COURT:     Ms. Wallace.       Ms. Wallace, you need to

   3    clarify, understand something.             When somebody -- we all know

   4    this from experience, when you mail something, you know when

   5    you mail it.      You have no way of knowing when it was received

   6    unless you had some sort of return receipt indication.                    So when

   7    you asked Ms. Pullo if she knows when you received a hard copy,

   8    there's no way she could possibly know, but if she sent you

   9    something electronically, perhaps she could say when that was

  10    sent but beyond that, and it doesn't matter when and how Ms.

  11    Pullo wouldn't know why and when someone in my staff sent you

  12    something.      So let's stick with what Ms. Pullo can tell you she

  13    knows, or doesn't know.

  14                 MS. WALLACE:      Thank you.

  15    BY MS. WALLACE:

  16    Q.       Was there anything in the plan or solicitation procedures

  17    that required this information be sent out no later than April

  18    8th?

  19                 MR. SLACK:     Objection to the form.

  20                 THE COURT:     Do you understand the question, Ms. Pullo?

  21                 THE WITNESS:      I believe so.

  22    A.       The solicitation order required that we send out the

  23    materials by March 31st, or as soon as reasonably practical

  24    thereafter.

  25    BY MS. WALLACE:

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 14
                                        of 92
                                                                                        15

                                         Pullo - Direct

   1    Q.       Okay.   And you're -- do you have knowledge or should have

   2    knowledge that I received verification of my claim -- well, I

   3    guess I asked that before.

   4                 THE COURT:     Ms. Wallace, let's ask -- if you want to

   5    ask your questions, ask about things generally.                   You well-

   6    established that you didn't get something, and efforts were

   7    made to give you something late.               So if you got your vote in,

   8    there's no harm, no foul for you, and you're welcome to ask Ms.

   9    Pullo other questions about generally, but it doesn't help

  10    anything to have further discussion about your particular

  11    situation.

  12                 MS. WALLACE:      So not receiving it wouldn't be

  13    considered strict adherent -- would be considered strictly

  14    adherent to the retention orders in the solicitation --

  15                 THE COURT:     Ms. Wallace, you're entitled to make

  16    arguments at a later date.              Today, you're entitled to ask Ms.

  17    Pullo questions, not ask me questions, and they're legitimate

  18    questions but you're supposed to ask what Ms. Pullo can tell

  19    you about it, not what I have to deal with as legal

  20    consequences.

  21                 MS. WALLACE:      Thank you.

  22    BY MS. WALLACE:

  23    Q.       If many of the fire claimants never received the plan and

  24    voting ballots, is that considered strictly adhering to the

  25    solicitation plan?

Case: 19-30088    Doc# 7701   Filed: 06/01/20    Entered: 06/01/20 16:03:12   Page 15
                                        of 92
                                                                                         16

                                          Pullo - Direct

   1                 MR. SLACK:      Objection, Your Honor.

   2                 THE COURT:      Again, Ms. Wallace, you're making what's

   3    more of a rhetorical argument.              Ms. Wallace isn't supposed to

   4    give her legal opinions on whether her company complied as a

   5    legal matter.         She said what the company did as a practical

   6    matter.      It complied with the Court's order and mailed things

   7    out.

   8                 Again, I'll repeat, something being mailed out doesn't

   9    mean somebody received it necessarily.                 So go ahead, and again,

  10    I delayed you with the interruption but I want you to focus any

  11    remaining questions on Ms. Pullo, otherwise, I'm going to let

  12    her go, and let you -- we'll call the next witness.

  13    BY MS. WALLACE:

  14    Q.       Okay.   I'd like to ask you some questions about your

  15    duties, specifically in reference to the retention orders that

  16    authorized Prime Clerk to assist the debtors with, among other

  17    things, a service and distribution of solicitation materials

  18    and tabulation of votes cast to accept or reject the plan.

  19    It's on page 2, lines 6 through 20.

  20                 THE COURT:      Okay.       Go ahead and ask the question.         She

  21    has the document.

  22    BY MS. WALLACE:

  23    Q.       In the retention orders, is Prime Clerk's duty only to the

  24    debtor PG&E?

  25                 THE COURT:      That's a legal conclusion.           You don't have

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 16
                                         of 92
                                                                                       17

                                         Pullo - Direct

   1    to answer that, Ms. Pullo.

   2    Q.       Do you have the same duty to the fire victims?

   3                 THE COURT:     You don't have to answer that question,

   4    Ms. Pullo.

   5    BY MS. WALLACE:

   6    Q.       If the retention orders were not carried out properly, are

   7    there any provisions to correct the deficiencies, and if so,

   8    what are they?

   9    A.       That's a -- is that a legal question, as well?

  10                 THE COURT:     Well, answer it as best you can.             If you,

  11    or your company learned that there has been a mistake, what do

  12    you do about it?

  13    A.       We fix it, and remedy as soon as possible.

  14    BY MS. WALLACE:

  15    Q.       And how do you fix it, and remedy --

  16                 MR. SLACK:     Objection, Your Honor.

  17                 THE COURT:     You can answer.        Go ahead, Ms. Pullo.

  18    A.       It -- it depends on what we are fixing -- what the issue

  19    is.

  20    BY MS. WALLACE:

  21    Q.       In Exhibit B-1 to your declarations, you list 978 ballots

  22    for fire victims that were not counted because they arrived

  23    after the deadline.         Does that number sound right to you?

  24    A.       That sounds -- that sounds correct.

  25    Q.       Is this a typical proportion for late ballots?

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 17
                                        of 92
                                                                                       18

                                         Pullo - Direct

   1    A.       Given the size of this case, yes, it's not atypical.

   2    Q.       Can you tell me how many of these ballot packages were

   3    sent via USPS mail to fire victims?

   4    A.       All of the solicitation packages were mailed by First

   5    Class mail, as in accordance with the certificate of service

   6    that was -- that I filed.

   7    Q.       All -- I'm sorry, I didn't hear what you said.                All of the

   8    what?

   9    A.       All of the direct fire victim claim solicitation packages

  10    were mailed via First Class mail as detailed in the certificate

  11    of service.

  12    Q.       Did Prime Clerk bring to PG&E or the Court's attention,

  13    the volume of calls and emails it was receiving from victims

  14    who had not received ballots?

  15                 MR. SLACK:     Objection, Your Honor.

  16                 THE COURT:     Say again, Mr. Slack?

  17                 MR. SLACK:     I'm objecting, Your Honor.           I don't think

  18    there's evidence as to whether or not actually fire victims did

  19    or didn't receive it, you know, the packages, and there's an

  20    assumption of fact that's not in evidence.

  21                 THE COURT:     Okay.       Ms. Wallace, I'll ask you to

  22    restate the question, and again, you can't pursue facts that

  23    aren't necessarily established.              So you can ask her what

  24    might've happened about something, but you can't just refer to

  25    something that you don't -- no proof that it did happen, follow

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 18
                                        of 92
                                                                                       19

                                         Pullo - Direct

   1    me?

   2                 MS. WALLACE:      Right.     And I do have proof that it did

   3    happen because I have knowledge of dozens of people that never

   4    received a ballot.

   5                 THE COURT:     Well, that's not with -- that doesn't --

   6    that's not the point.          If you have knowledge of people who

   7    didn't receive the ballots, that's your knowledge, and what you

   8    do about it is another matter, but it's not something Ms. Pullo

   9    can know.      She cannot know what you have knowledge of, and if

  10    you ask her about something you have knowledge of, she can't

  11    know.      So let's -- I'm going to give you a couple of more

  12    minutes to ask her what she knows, or is in a position to know

  13    whether, including she might say, I don't know but she would be

  14    in a position to know whether she doesn't know it.

  15                 MS. WALLACE:      Thank you.

  16    BY MS. WALLACE:

  17    Q.       Did Prime Clerk notify the Court that I had called and

  18    sent emails several times to Prime Clerk and had not receive a

  19    proof of claim, or a voting package?

  20    A.       No, I did not email the Court about your correspondence.

  21    Q.       Does Prime Clerk ship out all the ballot packages itself

  22    or does it use subcontractors?

  23    A.       We have a -- a vendor that sends out all of our mail.

  24    Q.       So that vendor would be called a subcontractor, or a

  25    vendor, or that -- they equal the same?

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 19
                                        of 92
                                                                                        20

                                         Pullo - Direct

   1                 THE COURT:     Well, Ms. Wallace, she said it's a vendor.

   2    So it doesn't matter whether it's a vendor or a subcontractor.

   3    It's someone that their company used to send the mail out.                     So

   4    that's an answer.        Go ahead.       And if you have a follow-up about

   5    that, you can ask it.

   6    BY MS. WALLACE:

   7    Q.       Do the vendors notify that -- did the vendor notify that

   8    it was delayed in performing the mailing due to COVID-19 or any

   9    other reason?

  10    A.       The mailing went out in accordance with the court-approved

  11    deadlines.      So we -- there was no delay from a mailing

  12    perspective related to that.

  13    Q.       So those that received their voting packages deadline

  14    aren't considered -- are considered okay?

  15                 THE COURT:     Okay, Ms. Wallace.         I'm going to conclude

  16    the deposition - the questions now, because it's obvious to me

  17    that you are frustrated by --

  18                 MS. WALLACE:      I only have a couple of more questions.

  19                 THE COURT:     -- it's obvious to me that you are

  20    frustrated by the fact that you didn't get your materials on

  21    time, and maybe you were taken care of, and you're undoubtedly

  22    upset and frustrated that some other people perhaps never got

  23    their votes counted, and that's unfortunate, but it's not

  24    anything to question Ms. Pullo about.               You can argue about it

  25    to me, and see, and tell me what I should do about it, but not

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 20
                                        of 92
                                                                                        21

                                          Pullo - Direct

   1    thing morning.

   2                    MS. WALLACE:     But -- but --

   3                    THE COURT:     I'll let you ask two more questions, and

   4    then we're going to conclude with Ms. Pullo.

   5    BY MS. WALLACE:

   6    Q.       Do you know Josh Karotkin?

   7    A.       Yes.

   8    Q.       And what is his relationship to Prime Clerk?

   9    A.       He is an employee of Prime Clerk.

  10    Q.       Do you know his title?

  11    A.       Director.

  12    Q.       Do you know Stephen Karotkin?

  13    A.       Yes.

  14    Q.       Do you know the relationship between Stephen Karotkin and

  15    PG&E?

  16    A.       He is their counsel.

  17    Q.       Do you know that Josh Karotkin is the son of Stephen

  18    Karotkin?

  19    A.       I do.

  20                    MR. SLACK:     Your Honor, I mean, I gave some leeway,

  21    but I don't see why this is relevant to anything in this case.

  22                    MS. WALLACE:     It's relevant in the fact that it's --

  23    that possibly a reasonable person may see a conflict of

  24    interest, that the father is a lead attorney for PG&E and the

  25    son is director of the company that's in charge of counting the

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 21
                                         of 92
                                                                                        22

                                         Pullo - Direct

   1    ballots.

   2                 THE COURT:     Okay.       All right.    I'll accept that, if

   3    that's the fact, but again there's nothing Ms. -- excuse me,

   4    Ms. Pullo can do about it.

   5    BY MS. WALLACE:

   6    Q.       Can you verify under penalty of perjury that all claimants

   7    received the plan and voting package with adequate time to

   8    review, and vote for the voting deadline?

   9                 MR. SLACK:     Objection, Your Honor.

  10                 THE COURT:     Yeah, sustained.         She's filed her

  11    declaration.      I'm going to conclude the --

  12                 MS. WALLACE:      Okay, I'm almost done.          I just have --

  13                 THE COURT:     No, you are -- no, Ms. Wallace, you are

  14    done.      I'm going to conclude this phase of the examination.

  15    I’m going to excuse Ms. Pullo.             I'm going to call the next

  16    witness, and you're entitled to ask the next witness questions.

  17    That's Mr. Boken, and you asked to ask him questions, and I'm

  18    going to let you do it.

  19                 MS. WALLACE:      So I can't say what I would wish to

  20    happen from this irregularity in the voting?

  21                 THE COURT:     Ms. Wallace, I said more than three times

  22    in this call, you can express yourself to me through the proper

  23    channels, file something, take positions, make whatever you

  24    want, and ask me to consider what I should do, but that's not

  25    for you to be questioning Ms. Pullo.               That's all.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 22
                                        of 92
                                                                                          23

                                        Pullo - Direct

   1                I'm not closing you off from your views, or your

   2    entitled to -- your entitlement to express yourself.                    This is

   3    going to waste time asking Ms. Pullo questions that aren't

   4    relevant to her testimony.             So I'm going to conclude her.

   5                Ms. Pullo, thank you for being here again.                 I'll

   6    excuse you.

   7                And Ms. Parada, I'll ask you to move Mr. Boken into

   8    the room, and after he is sworn, I will let Ms. Wallace be the

   9    first questioner because she had asked to ask him questions, as

  10    well.

  11                MS. WALLACE:      Yes, Your Honor.         Thank you for that.

  12    I'm not in a position right now; I didn't have time to prepare

  13    for pretty much based on the 1,000 pages of whatever to be --

  14    ask appropriate questions but I may reserve the right to ask

  15    them after I hear his testimony.

  16                THE COURT:     Okay.       You don't -- again, as I explained

  17    yesterday, everyone including you, and all the lawyers, and me,

  18    we all are operating under tight time schedules, and I wish it

  19    were different, but it isn't.             So you have the right to decline

  20    to ask Mr. Boken questions, and that's okay.                 Now do you also

  21    take the same view for Monday?             Will you want to or decline to

  22    ask questions of Mr. Ziman?

  23                MS. WALLACE:      I would like to reserve asking questions

  24    to Mr. Ziman?

  25                THE COURT:     Okay.       Well, you made the request for it,

Case: 19-30088   Doc# 7701   Filed: 06/01/20    Entered: 06/01/20 16:03:12   Page 23
                                       of 92
                                                                                      24

                                        Pullo - Direct

   1    and that'll be honored.         I'm going to go ahead and let you stay

   2    on to listen to the testimony today if you wish, but I'm going

   3    to move you out of our electronic courtroom.                And again, we

   4    weren't able to see you, but it doesn't matter, you

   5    participated, and we'll just proceed there.

   6                So with that, I see you, Mr. Boken, I presume.

   7                MR. BOKEN:     Good morning.

   8                THE COURT:     Ms. Parada, will you swear Mr. Boken in,

   9    please?

  10         (Witness sworn.)

  11                THE CLERK:     Please raise your right hand.

  12                THE CLERK:     Thank you.       Please state your name for the

  13    record.

  14                MR. BOKEN:     John Boken.

  15                MR. SLACK:     Your Honor, Richard Slack from Weil,

  16    Gotshal for the debtors.          The next witness, as we all know, is

  17    Mr. Boken.     He's a managing director at AlixPartners, and we

  18    would ask that his declaration be admitted into evidence at

  19    this time.

  20                THE COURT:     One of the things I'm going to clarify in

  21    the order that I'm about to issue is that we don't have to do

  22    that.    His declarations are considered in and evidence, unless

  23    there were objections.

  24                But before we proceed, Mr. Tsekerides, do you want to

  25    stay on the -- in the courtroom, and Mr. Julian, you do both

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 24
                                       of 92
                                                                                      25

                                        Pullo - Direct

   1    today, right?

   2                MR. TSEKERIDES:       If that's okay.

   3                THE COURT:     Okay.       All right.

   4                Mr. Boken, I believe we need to bring the next

   5    questioner in, who -- Ms. Parada, I believe that's -- well,

   6    you'll remind me, Mr. Abrams, right?

   7                THE CLERK:     Yes, Your Honor, I will bring him in.

   8                Mr. Abrams is joining now.

   9                THE COURT:     Good morning, Mr. Abrams again.

  10                MR. ABRAMS:      Good morning, Your Honor.

  11                THE COURT:     Can you hear me?         I think --

  12                MR. ABRAMS:      Yes.

  13                THE COURT:     Let me just check my notes to make sure.

  14    Yeah, you -- I believe you asked for fifteen minutes; is that

  15    right?     Am I -- recall that correctly?

  16                MR. ABRAMS:      I thought it was twenty-five, but I'll be

  17    concise.

  18                THE COURT:     I'll give you twenty, how that's for --

  19    I'm going to -- I'm in a compromising mood.

  20                MR. ABRAMS:      All right.

  21                THE COURT:     Go ahead.       Thank you, Mr. --

  22                MR. ABRAMS:      Thank -- thank you, Your Honor.            I

  23    appreciate that.

  24                                  CROSS-EXAMINATION

  25    BY MR. ABRAMS:

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 25
                                       of 92
                                                                                             26



   1    Q.       Mr. Boken, I appreciate you joining to answer questions

   2    regarding your work for Pacific Gas and Electric Company.                       If

   3    you could start out first by explaining what you were employed

   4    to do by Pacific Gas and Electric.               And if you could,

   5    differentiate between your work, and the work of Mr. Ziman, who

   6    will be brought before the Court on Monday.

   7    A.       Yes.    So AlixPartners was retained as restructuring

   8    advisors, myself and a colleague, Jim Mesterharm were appointed

   9    chief restructuring officer and deputy chief restructuring

  10    officer.         Our responsibilities were in an overall capacity to

  11    manage many of the day-to-day financial aspects of the Chapter

  12    11 case.        That includes liquidity management, cash forecasting,

  13    assistance in developing the business plan, claims management,

  14    and activities associated with complying with Chapter 11

  15    requirements, and the U.S. Trustee reporting requirements.

  16    Q.       Okay.    Thank you.     Can you give me a sense of the

  17    deliverables that your organization provided to Pacific Gas and

  18    Electric?        Were these reports, plans?          What was -- what were

  19    those deliverables?

  20    A.       The number of work products that come out of our

  21    responsibilities initially the filing of the statements and

  22    schedules or schedules and assets and liabilities, and

  23    statements of financial affairs, which were compiled and filed

  24    in the early stages of the case.               I think it was in the March

  25    or April time frame.           And then along the way, we produced in

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 26
                                         of 92
                                                                                        27



   1    conjunction with PG&E, materials like the financial forecast,

   2    which was included in the disclosure statement.                   We had

   3    responsibility for producing weekly reports on liquidity and

   4    cash management to the debtor-in-possession financing

   5    lender/agent, and then a series of ad hoc analyses and reports,

   6    depending on what particular work stream were involved in.

   7    Q.       Okay.    Thank you.     In your declaration on page 3, lines 5

   8    and 6, you state that you -- "including other members of the

   9    debtors' senior management".              So can you describe this senior

  10    management folks that you worked with, consulted, in your work?

  11    A.       Yes.    One of our principal contacts was the chief

  12    financial officer, Jason Wells, and then working beneath him,

  13    but still part of senior management, was the treasurer.

  14    Initially that was Nick Bijur, now that's an individual by the

  15    name of Mari Becker.           We've also got --

  16                    THE COURT:     Excuse me, Mr. Boken.        Would you restate

  17    that second person in the treasurer's position?                   I just didn't

  18    get the name.

  19                    THE WITNESS:     Mari Becker.      She's now the current

  20    treasurer of the company.

  21                    And a whole host of other people in the senior

  22    management team, John Simon, on the legal side, Janet Loduca,

  23    also on the legal side.           There has been changeover, as I

  24    believe you're aware in the CEO, the utilities CEO, the head of

  25    the gas operations and electric operations, these were all

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 27
                                         of 92
                                                                                           28



   1    individuals both prior, and current, who are part of the senior

   2    management team, who we have had regular interaction with.

   3    BY MR. ABRAMS:

   4    Q.       Thank you.    As part of those discussions, did you have

   5    interactions regarding your work with Ms. Powell, the vice

   6    president of Wildfire Safety?

   7    A.       We have had discussions, meetings with the team that leads

   8    the wildfire safety, including Ms. Powell, yes.

   9    Q.       Including Ms. Powell, okay.          And that was regarding the

  10    plan of reorganization?

  11    A.       Those interactions with Ms. Powell would've been around

  12    the wildfire mitigation plan, and in the cost associated with

  13    the wildfire mitigation plan as we were assisting the company

  14    in developing the financial projections.

  15    Q.       Okay.   Would you say that wildfire mitigation is a central

  16    component to the degree to which Pacific Gas and Electric will

  17    be able to remain viable, and not go into further

  18    restructuring?

  19    A.       The wildfire mitigation plan is an important element of

  20    how the company operates and expects to operate going forward.

  21    Q.       Thank you.    In the course of your work, did you, regarding

  22    the plan of reorganization, work with Julie Kane, the senior

  23    vice president, and chief ethics and compliance officer?

  24    A.       We did have some degree of interaction with Ms. Kane.                 I

  25    would say it would be -- I would classify that as moderate.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 28
                                        of 92
                                                                                            29



   1    Q.       Moderate, okay.     On page 8, line 19, you indicate that you

   2    did an analysis of Section 1129(a)(11), plan feasibility.                      Do

   3    you see that there?

   4    A.       I'm looking at page 8, 19, and it's a blank.                I'm not sure

   5    what --

   6                 MR. KAROTKIN:      Perhaps Mr. Abrams, if you referred to

   7    paragraph numbers, it might be easier.

   8    BY MR. ABRAMS:

   9    Q.       Sure, it's between paragraph 5 and paragraph 6.

  10                 MR. KAROTKIN:      Yes, sir --

  11                 THE COURT:     Do you see that, Mr. -- Mr. Boken, do you

  12    see that page?

  13                 THE WITNESS:      I do, yes.

  14                 THE COURT:     Okay.

  15    A.       And I'm sorry, what was the question again?

  16    BY MR. ABRAMS:

  17    Q.       So, just bringing your attention to that section.                And

  18    given your work on this, and your expert opinion, did you

  19    assess that this plan is feasible based on Section 1129(a)(11)?

  20    A.       I think what the statement is saying is I'm -- I'm

  21    familiar with the requirements for confirmation of the plan.

  22    Our responsibility or -- was with respect to providing an

  23    opinion with respect to certain aspects of plan feasibility,

  24    and particularly, whether the financial projections were

  25    reasonable and rationable -- or reasonable and rational, and

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 29
                                        of 92
                                                                                           30



   1    whether the company had the adequate resources to implement the

   2    plan.      Both of those points, I've expressed my opinion in the

   3    declaration.

   4    Q.       Okay.    Thank you.     So you did not, yourself or your

   5    company, make an assessment of whether PG&E does or does not

   6    comply with Section 1129(a)(11)?

   7    A.       Well, Section 1129 is -- got many aspects to it.                 We, of

   8    course, work with Weil, Gotshal on the plan of reorganization,

   9    and so we -- we were a component of the process of putting

  10    together the plan, and the plan confirmation brief that argues

  11    that the company is in -- or does meet the requirements for

  12    confirmation of the plan under Section 1129.

  13    Q.       Okay.    Thank you.     At the CPUC hearing on March the 2nd,

  14    which is one of the exhibits that the debtors did not object

  15    to, on page 884, lines 23 through 28, I asked Mr. Kane, "Ms.

  16    Kane as part of your responsibilities, do you have any ethical

  17    oversight associated with the bankruptcy process and the plan

  18    of reorganizations?"

  19                     Her answer to that was, "No, specifically" -- or I'm

  20    sorry, "Not specifically, no."

  21                     Do you consider ethical issues of Pacific Gas and

  22    Electric as central to whether they will be able to continue

  23    without further reorganization?

  24    A.       Not sure how -- how to answer that.

  25                 THE COURT:      Well, then that's your answer.             Mr.

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 30
                                         of 92
                                                                                      31



   1    Abrams, it is difficult to talk about to a witness about

   2    something somebody else said and then to ask what he thinks

   3    about the relevance, or the legal significance of what that

   4    other person said.

   5                I mean, if you want to just ask Mr. Boken more

   6    specifically, you may do so, but it's a -- he can't answer the

   7    question because I can't understand the question.

   8                MR. ABRAMS:      All right.

   9                THE COURT:     So let's try it again.

  10                MR. ABRAMS:      All right.      I -- I apologize, Your Honor,

  11    part of what you stated --

  12                THE COURT:     I'll cut you off.         You can ask him if he

  13    thinks that the company has an obligation to comply with

  14    ethical obligations under the law, I'm sure I know the answer,

  15    but you could ask him that, or something like that.                   But

  16    seriously --

  17                MR. ABRAMS:      Yeah.

  18                THE COURT:     -- you've got to figure out why one

  19    witness would know what another witness meant.

  20                MR. ABRAMS:      Right, and all I was indicating was that

  21    he indicated that he consulted with Ms. Kane on a moderate

  22    level.    So the fact that she said, no, she didn't have any

  23    input regarding the plan, seems to me to be important, but I'll

  24    move on.

  25                THE COURT:     Well, you can ask him what he consulted

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 31
                                       of 92
                                                                                       32



   1    with her about.        I mean, I doubt that what Mr. Boken was

   2    involved with was ethics.           That's usually for ethical, not that

   3    Mr. Boken isn't ethical, but is for ethics specialists, or

   4    lawyers, it's not for a financial analyst.

   5    BY MR. ABRAMS:

   6    Q.       So -- I'll move on.       So to the degree to which as we've

   7    seen in terms of the history of PG&E, with their falsifications

   8    of documents, with locate and mark, with the manslaughter

   9    charges, just yesterday Judge Alsup said that PG&E is a

  10    recalcitrant criminal.          Given all of that, in terms of the

  11    financial impacts of that, can PG&E continue in that direction

  12    without further reorganization, and without being -- facing

  13    other consequences that would mean the dissolving of Pacific

  14    Gas and Electric?

  15                 MR. SLACK:     Objection, Your Honor.

  16                 THE COURT:     Just said -- I know what your objection

  17    is, but go ahead, and state it for what --

  18                 MR. SLACK:     Your Honor, there's a couple of things.

  19    First off, there are facts that are predicate there that are

  20    not in evidence here.          And second, Your Honor, it doesn't make

  21    any sense given what he asked.

  22                 THE COURT:     Okay.       I'm going to sustain the objection.

  23    Mr. Abrams, again, you're welcome to ask him if he believes

  24    that the company will likely need further reorganization, but

  25    to bring in highly publicized statements in the media yesterday

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 32
                                        of 92
                                                                                       33



   1    from Judge Alsup, is not something that I expect Mr. Boken to

   2    be even -- I don't even know if he's aware of it.                    So why don't

   3    you rephrase the question.

   4                 MR. ABRAMS:      Okay.     I will rephrase the question.

   5                 THE COURT:     In terms of -- wait, in terms of what he

   6    says in his declaration, his assignment was in his opinion.

   7                 MR. ABRAMS:      Right, yes.      I understand.

   8    BY MR. ABRAMS:

   9    Q.       In regarding compliance with 1129(a)(11), do you believe

  10    that following the law and PG&E not getting into further legal

  11    problems is important for them to avoid further restructuring?

  12    A.       I think it's important for PG&E to act in a responsible

  13    manner in accordance with their fiduciary duties, in order to

  14    proceed.

  15    Q.       So is that -- so I'm sorry, I did not understand the

  16    answer.      So do you feel that complying with the laws is

  17    important for how PG&E can avoid further restructuring or not?

  18                 MR. SLACK:     Objection, Your Honor.

  19                 THE COURT:     You can answer, Mr. Boken, if you have an

  20    opinion on that.

  21    A.       I believe that PG&E, the officers, and directors, and

  22    employees operating consistent with their fiduciary duties and

  23    operating the business in a safe and responsible manner is

  24    important for PG&E to be successful going forward.

  25    BY MR. ABRAMS:

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 33
                                        of 92
                                                                                          34



   1    Q.       Okay.   Can you explain to me how you assessed the wildfire

   2    mitigation plan component of PG&E's activities into how the

   3    financials were structured and, specifically, how you are going

   4    to -- how PG&E's going to be able to reduce the risk of

   5    wildfire given the financials associated with this

   6    restructuring?

   7                 MR. SLACK:     Objection, Your Honor.

   8                 THE COURT:     Well, it's kind of a complicated question.

   9    Mr. Boken, do you understand the question?

  10                 THE WITNESS:      I don't.      I felt like there was at least

  11    two, and maybe three questions in there.

  12                 THE COURT:     Okay.       Well, then the objection is

  13    sustained.       Rephrase the question, Mr. Abrams.             Break it into

  14    pieces.      When you ask a compound question, it gets more

  15    confusing.       Just ask specific questions, and he'll answer.

  16    BY MR. ABRAMS:

  17    Q.       What about this plan of reorganization directly addresses

  18    wildfire mitigation efforts of Pacific Gas and Electric?

  19                 MR. SLACK:     Your Honor, I'm also going to object there

  20    because it's -- that's beyond the scope of precisely what Mr.

  21    Boken put in his declaration, which was focused, as I think

  22    Your Honor recognized a couple of minutes ago, on the financial

  23    aspects and the projections, and this goes far beyond that.

  24                 THE COURT:     Well, it probably does, but this is an

  25    awkward arrangement, so I'm going to let him answer.                    You can

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 34
                                        of 92
                                                                                       35



   1    answer that question, Mr. Boken.              Do you want to hear it again?

   2                 THE WITNESS:      Yes, please.

   3                 THE COURT:     Okay, restate the question, Mr. Abrams.

   4                 MR. ABRAMS:      Yes.

   5    BY MR. ABRAMS:

   6    Q.       What specifically in the plan of reorganization addresses

   7    the wildfire mitigation activities of Pacific Gas and Electric?

   8    A.       I think two factors are important.            Included in the

   9    company's financial projections, are significant annual

  10    investment in the Wildfire Mitigation Plan.                 I believe that

  11    number annually, when you combine operating expenses and

  12    capital expenditures, is about 3.5 billion dollars -- upwards

  13    of 3.5 billion dollars.          And the second factor that's an

  14    important component of this plan is the company's ability to

  15    participate in the wildfire -- the go-forward wildfire fund

  16    which was established under AB 1054.

  17    Q.       Okay.   Are you aware of the total settlement associated

  18    with this particular restructuring, the damages that are paid

  19    out to victims associated with the fires?

  20                 THE COURT:     Well, what are you -- I mean, are you

  21    asking him about the treatment for the victims or the total

  22    settlement?      Remember, there are tens of billions of dollars of

  23    other claims being dealt with under the plan also, so what are

  24    you asking him?

  25                 MR. ABRAMS:      Totally.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 35
                                        of 92
                                                                                       36



   1                 THE COURT:     What?       Both?

   2                 MR. ABRAMS:      Totally, Your Honor, yes, both.

   3                 THE COURT:     All right.          Mr. Boken?

   4    A.       I am aware of the claims that are being addressed under

   5    the Chapter 11 plan, yes.

   6    BY MR. ABRAMS:

   7    Q.       Okay.   So what is -- are you asking, what is that number?

   8                 MR. SLACK:     Objection, Your Honor.

   9                 THE COURT:     Well, what's the objection?

  10                 MR. SLACK:     Well, I'm not sure what that number is

  11    asking for, and I want to -- I think we need to clarify exactly

  12    what numbers we're asking Mr. Boken to --

  13                 THE COURT:     Yeah.

  14                 MR. SLACK:     -- testify about.

  15                 THE COURT:     That's a fair point.

  16                 Mr. Abrams, if you look at Mr. Boken's declaration,

  17    you won't see the kind of breakdown of numbers that you'll see

  18    in Mr. Ziman's declaration.             So I'm not sure I know what you're

  19    asking.      So again, if you can be more specific, I'll see if he

  20    can answer, but it might be more of a question for the next

  21    witness, next -- on Monday.

  22                 MR. ABRAMS:      And if Mr. Boken doesn't under -- doesn't

  23    know the answer, that -- then he doesn't know the answer, and

  24    he can say that he doesn't know the answer.                  I'm asking do you

  25    understand the total amount of damages associated with this

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 36
                                        of 92
                                                                                         37



   1    restructuring that PG&E will have to pay to all claimants?

   2                 MR. SLACK:     Does he mean under the plan or             what do

   3    you mean?

   4                 MR. ABRAMS:      Yes.

   5    BY MR. ABRAMS:

   6    Q.       Under the plan of reorganization associated with this

   7    bankruptcy, what is the total number of damages for the

   8    claimants?

   9                 THE COURT:     Okay, Mr. Abrams.         The word "damages"

  10    triggers --

  11                 MR. ABRAMS:      Okay.

  12                 THE COURT:     -- a reaction.        So --

  13                 MR. ABRAMS:      Total number of --

  14                 THE COURT:     I'll ask him the question for you.

  15                 Mr. Boken, have you seen Mr. Ziman's declaration?

  16                 THE WITNESS:      I have.

  17                 THE COURT:     And did you notice that, as I recall, he

  18    breaks down into various pieces, subrogation eleven fire

  19    victims, 13.5, et cetera.            Can you -- with that kind of frame

  20    of reference, can you answer Mr. Abrams' question?

  21                 THE WITNESS:      My recollection, and I believe this is

  22    in the disclosure statement, there is a sources and uses

  23    analysis, and the uses aggregates the total amount of claims

  24    that will be satisfied, that could be funded debt claims, it

  25    could be Wildfire claims, it could be ordinary vendor claims,

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 37
                                        of 92
                                                                                       38



   1    and my recollection, I haven't committed it precisely to

   2    memory, is that aggregate number is somewhere in the range of

   3    fifty-nine billion dollars.

   4    BY MR. ABRAMS:

   5    Q.       Thank you.    Are you aware that the Wildfire Fund is

   6    twenty-one billion dollars for all of California utilities or

   7    the majority of California utilities?               Are you aware of that?

   8                 THE COURT:     Yeah, Mr. Abrams, I'm going to interrupt.

   9    That's really not relevant to this witness' testimony.                    You and

  10    I and everybody who reads the newspaper knows that kind of

  11    number, but it's not relevant to what Mr. Boken's testifying

  12    to.

  13                 MR. ABRAMS:      What I'm trying -- and I appreciate that.

  14    I'll say a different question.

  15    BY MR. ABRAMS:

  16    Q.       There's a delta between the number that you just stated,

  17    fifty-some-odd billion dollars and twenty-one billion dollars,

  18    and the degree to which that twenty-one billion dollars will

  19    support Pacific Gas and Electric, if they cause more

  20    catastrophic wildfires as soon as this summer.                  What I'm trying

  21    to understand is, how much is the plan of reorganization

  22    reliant upon that twenty-one billion dollars, and the degree to

  23    which it's sufficient?          Can you please articulate why you feel

  24    that the reliance on the twenty-one billion dollars is

  25    sufficient for Pacific Gas and Electric to remain viable?

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 38
                                        of 92
                                                                                        39



   1                 MR. SLACK:      Objection, Your Honor.

   2                 THE COURT:      I will overrule.        You can answer that, if

   3    you know the answer, or have an opinion, Mr. Boken.

   4    A.       I don't think anybody has made any sort of statement that

   5    the Wildfire Fund is going to be sufficient for any of the

   6    California IOUs that are -- that participate in that fund, or

   7    will participate in that fund.

   8                     That's subject to a whole number of factors that none

   9    of us know, like what future wildfires, what the volume, and --

  10    and magnitude of future wildfires are going to be.

  11                     What's important for PG&E is the two items I

  12    mentioned earlier, they have a very robust Wildfire Mitigation

  13    Plan, and the company is making significant investments on a

  14    year over year basis throughout the horizon of the financial

  15    forecast, to help mitigate the occurrence of wildfires that --

  16    as a result of PG&E equipment.

  17                     Secondarily, the Wildfire Mitigation or the Go

  18    Forward Wildfire Fund is -- has been deemed by a number of

  19    parties including the Governor, to be a potentially effective

  20    tool to support the utilities in addressing potential wildfire

  21    damages going forward.

  22    BY MR. ABRAMS:

  23    Q.       Okay.    Thank you.     I have three more questions.            These are

  24    all very specific question related to page 5 of your

  25    declaration, and your statement that, "Recent developments are

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 39
                                         of 92
                                                                                       40



   1    not accepted to have a material impact on the financial

   2    projections or the debtors' ability to meet their obligations

   3    under the plan specific to COVID."

   4                 THE COURT:     Are you --

   5    BY MR. ABRAMS:

   6    Q.       Do you see that section?

   7                 THE COURT:     -- referring to paragraph 11?

   8                 MR. ABRAMS:      I am referring to page 3 --

   9                 THE COURT:     Well --

  10                 MR. ABRAMS:      -- sorry, let me just pull out -- sorry,

  11    page 5 --

  12                 THE COURT:     Paragraph 11, right?

  13                 MR. ABRAMS:      Yes, paragraph 11, yes.

  14                 THE COURT:     Mr. Boken, do you have your own

  15    declaration there?

  16                 THE WITNESS:      I do, yes.

  17                 THE COURT:     Okay.       Go ahead.

  18                 MR. ABRAMS:      Thank you.

  19    BY MR. ABRAMS:

  20    Q.       In PG&E's May 1st earnings statement related to COVID-19,

  21    the statement read, "Will" --

  22                 THE COURT:     Wait, wait.       I thought you were asking a

  23    question about what he said in this declaration.

  24                 MR. ABRAMS:      I am in relationship to the May 1st

  25    earnings statement.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 40
                                        of 92
                                                                                        41



   1                 THE COURT:      But there's nothing about the May 1st

   2    earnings statement in this declaration.

   3    BY MR. ABRAMS:

   4    Q.       So your declaration appears to conflict with the May 1st

   5    earnings statement that states, "Will continue to result in

   6    workplace disruptions both in personal -- personnel

   7    availability, and deployment".              Can you explain that difference

   8    between the statement in the May 1st earnings report, and your

   9    declaration?

  10                 MR. SLACK:      Objection to the form, Your Honor.

  11                 THE COURT:      You can answer the question, Mr. Boken, if

  12    you understand the question.

  13    A.       I think I understand it.          I don't see any conflict between

  14    the two.         There is disruption, I will acknowledge that in the

  15    day-to-day operations.           That does not necessarily mean that

  16    that will have a material effect on the company's ability to

  17    either meet its obligations under the plan or it will have a

  18    material effect on the financial projections over the life of

  19    the projection period.

  20    BY MR. ABRAMS:

  21    Q.       Will it have a material effect on Pacific Gas and

  22    Electric's mobilization of personnel to address Wildfire

  23    Mitigation?

  24    A.       I don't know one way or the other whether it will or not.

  25    Q.       Okay.    Do you think that the Pacific Gas and Electric

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 41
                                         of 92
                                                                                            42



   1    Power Shutoffs and evaluations might be more problematic during

   2    a COVID period than it was for last year?

   3                 MR. SLACK:     Objection, Your Honor.          Calls for

   4    speculation.

   5                 THE COURT:     Yeah, sustained.        This is not within his

   6    scope of -- which all of us could know the answer to those

   7    questions but how can Mr. Boken be expected to know that?                      He

   8    can't know that.

   9    BY MR. ABRAMS:

  10    Q.       So in terms of financial projections, did you account for

  11    the degree to which these elements affected the financial

  12    projections and how, so did you take the impacts of COVID, and

  13    power shut-offs with the increased wildfire danger, and fold

  14    them into your analyses, and if so, please explain and

  15    similarly, did you account for the degree to which the Wildfire

  16    Fund support your analyses and if so, please explain the

  17    financial impacts associated with those elements?

  18                 THE COURT:     It's a compound question.           I will

  19    interpose an objection and sustain it.                You can ask him a

  20    simple question.        You can't put fifteen different concepts --

  21                 MR. ABRAMS:      All right.

  22                 THE COURT:     -- into one question.

  23                 MR. ABRAMS:      Fair enough.       I apologize, I -- for that.

  24    BY MR. ABRAMS:

  25    Q.       So let me break this down then.           How in your financial

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 42
                                        of 92
                                                                                      43



   1    analysis did you fold in these personnel impacts of COVID in

   2    terms of your financial projections associated with this plan

   3    of reorganization?

   4                MR. SLACK:     Your Honor, I object because it assumes

   5    that there are employee dislocations, et cetera, that are not

   6    in evidence.

   7                THE COURT:     Well, I'm going to overrule that

   8    objection.     Mr. Boken a moment ago said he did not say, and

   9    he's very much aware of the rest of it -- as the rest of us are

  10    about COVID, that he said he did not believe it would impact

  11    the particulars that he was focusing on.

  12                Mr. Boken, is that correct, did I restate it

  13    correctly?

  14                THE WITNESS:      I believe you did, Your Honor.

  15                THE COURT:     And do you have any -- did Mr. Abrams ask

  16    it in a way that would cause you to change your prior answer?

  17                THE WITNESS:      What I can say is in our analysis, which

  18    we did in conjunction with the company, is we looked at what

  19    the impact of COVID has been up to as recently as we did the

  20    analysis, that was somewhat quantifiable, and what the impact

  21    would be on earnings, cash flow, and the company's ability, you

  22    know, to -- like on capital expenditures, and that sort of

  23    thing.

  24                We did not project out whether COVID -- when COVID

  25    would expect to abate to the point that things could get back

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 43
                                       of 92
                                                                                       44



   1    to some state of normalcy, or whether it would have any

   2    particular impact on PS events, or other developments, so I

   3    don't have an ability to answer it the way he's asked the

   4    question, other than what I've just stated.

   5                 THE COURT:     All right.       Thank you.

   6                 MR. ABRAMS:      Thank you.

   7                 THE COURT:     Anything else, Mr. Abrams?

   8    BY MR. ABRAMS:

   9    Q.       Yes, just further breaking down that compound question.

  10    Power shutoffs, how were power shutoffs accounted for -- future

  11    power shutoffs accounted for in your financial analysis of the

  12    plan of reorganization?

  13    A.       Well, I'm not sure exactly how to answer it, so let me

  14    tell you what I can state clearly, which is the CPUC, I believe

  15    it's Tariff Rule 14, a policy that indicates that to the extent

  16    that PG&E is acting responsibly, and I forget the other

  17    terminology, that it is not subject to liability associated

  18    with PSPS.

  19    Q.       So that was not -- so an analysis of how power shutoffs

  20    affect you, you didn't include that in your analysis?

  21    A.       We have components of our financial -- of the company's

  22    financial forecast that does provide some contingency for

  23    emergency response, and other activities that could be

  24    associated with PSPS events, but we do not have liabilities

  25    embedded in our forecast for PSPS events for the reason I just

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 44
                                        of 92
                                                                                          45



   1    stated.

   2    Q.       So the fines and penalties that have occurred in the past

   3    from the CPUC, you have not included future -- the possibility,

   4    the risk of future penalties regarding PSPS events from

   5    regulatory bodies?

   6                 MR. SLACK:     Your Honor, I would object.              He's assuming

   7    there were -- this question assumes there were prior penalties

   8    for PSPS.      I don't believe that's in evidence.

   9                 THE COURT:     All right.       I'll sustain the objection.

  10                 I mean, Mr. Abrams, again, you're going into a lot of

  11    things that I don't even know about.               I -- I'm not aware of

  12    prior penalties for power shutoffs.               So --

  13                 MR. ABRAMS:      I am, Your Honor, but I will move on.               I

  14    just wanted to understand the degree to which Mr. Boken, in his

  15    financial analyses, thought about these things that could

  16    materially affect the financial outlook.                But I'll --

  17                 THE COURT:     But --

  18                 MR. ABRAMS:      -- leave it there.

  19                 THE COURT:     But in fairness to him, he answered it.

  20    He said there was some contingency reserved.                 Not the question

  21    of liability for making the power shutoffs, but the

  22    interruptions that follow if there is a power shutoff.                    And I

  23    believe his testimony was, it doesn't significantly impact the

  24    plan performance.

  25                 Again, you and I can't know what tomorrow will bring

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 45
                                        of 92
                                                                                        46



   1    about power shutoffs.          But the current state of affairs, the

   2    testimony says that, in his opinion, the plan -- the company

   3    will be able to form under the plan.

   4                 MR. ABRAMS:      Thank you.

   5                 THE COURT:     That's a 1129(a)(11) ultimate question.

   6                 MR. ABRAMS:      Thank you, Your Honor.

   7                 Last question, if I can.

   8    BY MR. ABRAMS:

   9    Q.       So you know, I know, financial -- I'm not a CFA myself,

  10    but I do understand that financial analyses look at risks,

  11    different scenarios, A and a B and a C, those types of things.

  12    And what I'm trying to understand here is the degree to which

  13    your financial analyses looked at the risks associated with

  14    wildfires in terms of your calculations.

  15             So as an example, a twenty-percent increase in wildfire

  16    risks this summer leads to this financial projection; a sixty-

  17    percent increase in wildfire potential leads to that financial

  18    projection.

  19             How did you account for the risks of catastrophic

  20    wildfires caused by PG&E equipment in your financial analyses?

  21                 MR. SLACK:     Your Honor, objection to the question.

  22                 THE COURT:     Can you answer that question, Mr. Boken?

  23    A.       What I can say -- first, let me clarify.              I'm not a CFA,

  24    and our -- when you refer to financial analysis, I'm not sure

  25    exactly what you're referring to.              We prepared, with the

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 46
                                        of 92
                                                                                              47



   1    company, a set of financial projections.                 The objective of the

   2    financial projections was to present what we, collectively,

   3    felt was a reasonable and rational representation of what the

   4    company's expected performance would be over the next -- over

   5    the five-year forecast period.

   6             That takes into account a lot of different factors.                    The

   7    issue that you've just brought up is mitigated for the

   8    reasons -- not mitigated completely -- nobody can completely

   9    mitigate wildfire risk -- but it's mitigated substantially by

  10    the robust wildfire mitigation plan and the investments the

  11    company is making and the existence of the AB 1054 go-forward

  12    wildfire fund.

  13    Q.       So just a quick, short clarifying question.

  14                 THE COURT:     Final question.

  15                 MR. ABRAMS:      Final question.        Final, final.

  16    Q.       In your analyses associated with the plan of

  17    reorganization, did you not account for varying levels of

  18    wildfires to occur this summer and the next summer?                     Did you

  19    not have two fires with X amount of damage versus fifty fires

  20    and this amount of damage?              Did you have no variation in terms

  21    of your analyses regarding wildfire implications?

  22                 MR. SLACK:     I object to the form of the question, Your

  23    Honor.

  24                 THE COURT:     You can give an answer, Mr. Boken.

  25    A.       In any scenario where we put together financial analyses,

Case: 19-30088    Doc# 7701   Filed: 06/01/20    Entered: 06/01/20 16:03:12   Page 47
                                        of 92
                                                                                          48



   1    we take into account numerous factors and potential

   2    circumstances.        In this situation, we are confident -- I am

   3    confident; my colleagues are confident; the company is

   4    confident -- that the company has sufficient resources coming

   5    in through the plan of reorganization financing process, post-

   6    emergence financing, and access to capital markets, to not only

   7    fund the plan, fund its operations going forward, but to

   8    address unknown contingencies that we can't predict at this

   9    time.

  10    Q.       In fairness, Mr. Boken, I -- let me ask it very

  11    specifically, because, perhaps, I didn't.                Do you have a low

  12    and a medium and a high in terms of wildfire impacts on your

  13    financial analysis or some breakdown in terms of that:                    worst

  14    case scenario, best case scenario, anything like that in terms

  15    of how you looked at the impacts of the plan of reorganization?

  16                 MR. SLACK:     Your Honor, we're -- I'm going to object

  17    again.      I think this is the same question that was just

  18    answered.      And of course, the last question was supposed to be

  19    his last question.         So --

  20                 THE COURT:     You can answer -- you can answer that

  21    question if you -- if you know, then answer, if you have an

  22    answer, Mr. Boken.

  23    A.       We prepared, with the company, a financial projection,

  24    which is included in the disclosure statement.                  We do not have

  25    alternative financial projections.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 48
                                        of 92
                                                                                          49



   1    Q.       Thank you.

   2                 MR. ABRAMS:      Thank you, Your Honor.

   3                 Thank you, Mr. Boken.          I appreciate your time.

   4                 THE COURT:     Okay.       Thank you, Mr. Abrams.        I'm going

   5    to excuse you from the virtual courtroom now and bring in our

   6    next questioner.        Thank you.

   7                 Which I believe is Mr. Troy, right, Ms. Parada?

   8                 THE CLERK:     Yes, Your Honor.        One moment.

   9                 And Your Honor, I received a message from Mr. Gregory

  10    Zipes that he would like to question this witness.                   And he's

  11    raised a hand.

  12                 THE COURT:     So Mr. Zipes from the U.S. Trustee?

  13                 THE CLERK:     Yes.

  14                 THE COURT:     Well, I'll see if there's any objection,

  15    but let's deal with Mr. Troy now.

  16                 Good morn -- or good afternoon, Mr. Troy.                You need to

  17    unmute yourself.

  18                 Mr. Troy, you have to unmute your microphone.

  19                 There you go.

  20                 MR. TROY:     Hi, Your Honor.

  21                 THE COURT:     Can you hear me?        Can you hear me?

  22                 MR. TROY:     Yes.

  23                 THE COURT:     All right.

  24                 MR. TROY:     Yes.

  25                 THE COURT:     All right.       It's your turn to examine Mr.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 49
                                        of 92
                                                                                        50

                                             Boken - Cross

   1    Boken.

   2                    MR. TROY:    Okay.

   3    CROSS-EXAMINATION

   4    BY MR. TROY:

   5    Q.       Mr. Boken, good afternoon.           I am Matthew Troy, a trial

   6    attorney with the United States Department of Justice, Civil

   7    Division, representing various federal agencies in this case.

   8             I assume you are familiar, as you indicated in your

   9    declaration, with the plan supplement?

  10    A.       Yes.

  11    Q.       Is that correct?

  12    A.       Yes.

  13                    THE COURT:     I'm sorry; what happened?         Did you say

  14    yes, Mr. Boken?

  15                    THE WITNESS:     I did, yes.

  16                    THE COURT:     Mr. Troy, did you not hear that?

  17                    MR. TROY:    Yes, I did.      It just -- there was a glitch

  18    on my end, Your Honor; I apologize.

  19    Q.       Okay.    So my first question is, with respect to the claims

  20    team, did the claims team prepare Schedule B to the plan

  21    supplement?        And Schedule B was the list of executory contracts

  22    and unexpired leases to be assumed by the debtor.

  23    A.       Yes.

  24    Q.       Okay.    What did the claims team do to prepare Schedule B?

  25    A.       The process started back last year when we originally

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 50
                                         of 92
                                                                                       51

                                          Boken - Cross

   1    prepared the schedule of contracts that was attached to the

   2    statement of financial affairs.              Then we went through a process

   3    of reviewing the agreements and contracts and making a

   4    determination, in conjunction with PG&E Legal and Weil,

   5    Gotshal, as to which agreements were qualified as executory

   6    contracts and which agreements were not executory contracts,

   7    and then proceeded from there.

   8    Q.       Okay.   Was Schedule B something that the claims team

   9    prepared, or was that an existing schedule in PG&E's files?

  10    A.       It did not exist prior to this process, no.

  11    Q.       Okay.   So what exactly did the claims team review to

  12    generate -- and I'm -- well, let me back up.

  13             So did the claims team create Schedule B?

  14    A.       Yes.

  15    Q.       Okay.   So in creating Schedule B, what did the claims team

  16    do, precisely?        What did they look at at PG&E to compile and

  17    produce Schedule B?

  18    A.       Well, I think that's the answer earl -- or the question

  19    that was asked earlier.          But the -- we accumulated or created a

  20    process by which we attempted to identify all of the agreements

  21    that existed within PG&E, originally.               This was in preparing

  22    Schedule G, originally, to the statement of financial affairs.

  23             Then there was a process which the -- the claims team,

  24    which included PG&E Legal, reviewed the vast majority of those

  25    agreements and made a determination as to what qualifies as an

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 51
                                        of 92
                                                                                        52

                                          Boken - Cross

   1    executory contract and what was not an executory contract.                     And

   2    so that was how the schedule -- I forgot the reference that you

   3    just gave -- Schedule B, that the plan supplement was

   4    developed.

   5    Q.       Okay.   And what exactly were the processes that you -- the

   6    claims team employed to ascertain whether or not an instrument

   7    was an executory contract or not?

   8    A.       They reviewed the vast majority of the individual

   9    contracts.       Many of them, it was quite clear that they were

  10    executory contracts.         If there was some question as to whether

  11    something qualified as an executory contract, as defined, then

  12    either or both of PG&E Legal or Weil, Gotshal helped make that

  13    legal determination about whether something that wasn't

  14    abundantly clear to the nonlawyers whether something was a

  15    executory contract or not.

  16    Q.       Okay.   How many times did the claims team make the

  17    determination that an instrument was not an executory contract

  18    and should not be on Schedule B?

  19    A.       I think that the numbers go something like this.                I think

  20    when you started back at the Schedule G information, you had

  21    something like 75,000 contracts and agreements.                  There were a

  22    number of contracts and agreements that expired over the course

  23    of the bankruptcy.         I think that number was 27- or 28,000.

  24    Then there was another 29- or 30,000 that were deemed to be

  25    nonexecutory contracts.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 52
                                        of 92
                                                                                           53

                                           Boken - Cross

   1             So what's left out of that -- and I don't know if this

   2    math all works perfectly, because I'm just doing it by

   3    memory -- that the list of executory contracts that exists now

   4    in the plan supplement is a number that's right around 17,000.

   5    Q.       So if I understood correctly, I believe your answer was

   6    approximately 29- to 30,000 instruments were determined not to

   7    be executory and, thus, not placed on Schedule B?

   8    A.       That's correct.

   9    Q.       Okay.    What did the claims team do to determine the

  10    estimated aggregate cure payment amount that you recite in your

  11    declaration, which, if you recall, is 230 million dollars?

  12    A.       Yes.    That was essentially a fact-based math exercise, so

  13    they went back to the company's books and records related to

  14    each one of those counterparties and then determined what

  15    amounts were owed pre-petition to those parties.                      And that's

  16    how the number was aggregated.

  17    Q.       Okay.    So I don't want to pull up the schedule because of

  18    its size and length and share it here.                 But if you can recall,

  19    in the schedule, the far-right column is cure amount.                      The

  20    total number of pages of Schedule B is something like over

  21    1,800 pages or close to that.              If you were to aggregate and add

  22    up all the amounts in the cure amounts column of Schedule B,

  23    would that equal approximately 230 million?

  24    A.       It should, yes.

  25                    THE COURT:   Mr. Troy --

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12    Page 53
                                         of 92
                                                                                       54

                                          Boken - Cross

   1    Q.       Okay.

   2                 THE COURT:     Mr. Troy, I need to interrupt you for a

   3    minute.      I haven't studied all of the objections that are

   4    coming up.       Is this a specific issue?          Is the government

   5    concerned about an inadequate cure figure, or why -- I didn't

   6    know that DOJ had an issue on confirmation that wasn't -- well,

   7    that was related to this.           What are we -- what's the purpose of

   8    this discussion?

   9                 MR. TROY:     Your Honor, I'm just trying to -- I don't -

  10    - the United States doesn't have a specific objection with a

  11    particular cure amount listed on Schedule B.                 It has an

  12    objection to all of it, because, based on my reading of

  13    Schedule B, there are no cure amounts for anything -- for any

  14    instrument that appears to be one in which the United States is

  15    the nondebtor counterparty.

  16                 MR. TSEKERIDES:       Your Honor, it's Ted Tsekerides.

  17                 MR. TROY:     The problem the United States is having,

  18    Your Honor, is even identifying what these instruments are,

  19    because there is so little information given on Schedule B to

  20    ascertain what the agreement is for most of the entries that

  21    would appear to indicate that a United States agency is the

  22    nondebtor counterparty.

  23                 The obje -- we did file a cure objection objecting to

  24    all of the cure amounts listed for the United States, which I

  25    think -- I haven't -- I don't want to quote it for certainty,

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 54
                                        of 92
                                                                                       55

                                         Boken - Cross

   1    because it's a lengthy document, but I think every cure amount

   2    listed for a United Stages agency is zero or a blank number.

   3                THE COURT:     Well, Mr. Tsekerides, can you -- again,

   4    I -- the government may have every right to raise these issues.

   5    The question is, should we be wasting time on it now?                   What --

   6    what's your --

   7                MR. TSEKERIDES:        Well, that -- sorry, Your Honor.           Ted

   8    Tsekerides for the --

   9                THE COURT:     You --

  10                MR. TSEKERIDES:       -- debtors.

  11                THE COURT:     Okay.

  12                MR. TSEKERIDES:       That's exactly -- that was exactly my

  13    point, that I thought that we had determined at the

  14    beginning -- prior to the confirmation hearing, sorry, that

  15    executory contract issues were going to be dealt with either

  16    after confirmation, or there is one sort of legal issue that

  17    we'll deal with at confirmation that was in our statement.

  18                But just from listening to the questioning, this seems

  19    to be going to the very issues we were going to put off until

  20    later.    So I'm trying to understand why we're talking about

  21    this now.     In fact, the statement that we filed yesterday

  22    indicated that the -- we have a process that we're going to be

  23    putting forward or have suggested on the executory contracts.

  24                THE COURT:     So that -- well, that's what I thought,

  25    too, Mr. Troy.       Again -- and I'm not suggesting that you can't

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 55
                                       of 92
                                                                                       56

                                         Boken - Cross

   1    examine Mr. Boken at some other point.               But is this really

   2    something that needs to take up our attention now?

   3                MR. TROY:     Well, Your Honor, I -- ultimately, probably

   4    not.     But what was not clear to me was what the process was

   5    that the debtors were actually proposing to address this issue.

   6    It's been somewhat of a fluid situation from the time that the

   7    schedule has been filed and continuing up until yesterday.                    So

   8    that's why I wasn't quite sure -- and still, I'm not entirely

   9    clear what the process is for resolving what could be a

  10    substantial dispute or what could be not a substantial dispute.

  11                But while the witness was here today and available --

  12    and I indicated I'd only have about ten minutes, and I really

  13    have about two more questions -- I figured I'd take my chances

  14    cross-examining --

  15                THE COURT:     Well --

  16                MR. TROY:     -- him about the schedule.

  17                THE COURT:     Well, two things.         First of all, I'll

  18    certainly let you ask him a couple more questions.                  But you

  19    could have a hundred more questions, if you want, if it's an

  20    issue that can be dealt with later.              And because of the squeeze

  21    of time and the many, many objections and the pressure of the

  22    deadlines, I think Mr. Karotkin confirmed to me and confirmed

  23    yesterday in writing that the debtor, at least, is willing to

  24    deal with all the executory contract issues post-confirmation.

  25                And if there's a counterparty that says, no, we've got

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 56
                                       of 92
                                                                                           57

                                           Boken - Cross

   1    to deal with it before, then I -- I'm not going to say no.                        But

   2    I didn't think that there was an issue from your point of view.

   3                    I'll tell you what.       Why don't you ask the last couple

   4    of questions, and we'll conclude your examination?                     But I'll

   5    just make it clear that, if there's a need to take some further

   6    discovery in the future, post-confirmation, of course, your

   7    position's protected.

   8                    Is that good enough for now?

   9                    MR. TROY:    Thank you, Your Honor.

  10                    THE COURT:    Okay.

  11                    MR. TROY:    I appreciate it, Your Honor.             I have two

  12    more questions.

  13    BY MR. TROY:

  14    Q.       Mr. Boken, I believe you said you had your declaration in

  15    front of you, right?

  16    A.       Yes.

  17    Q.       If you would just turn to paragraph 15 of your

  18    declaration.        You mentioned that there is a 330-million-dollar

  19    contingency that your claims team determined.                   My question was,

  20    does the 330 million relate to the 1 billion estimate for

  21    allowed nonwildfire, nonfunded debt claims, or does it relate

  22    to the 230 million aggregated cure payments?

  23    A.       It would relate to all claims, so -- including cure

  24    payments.        So any -- anywhere where our number, for one reason

  25    or another -- or another, turns out to be less than what the

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 57
                                         of 92
                                                                                         58

                                             Boken - Cross

   1    actual is, the contingency's intended to be there as a -- as

   2    one method of backstop.

   3    Q.       It's a contingency that could be used to address the 1

   4    billion estimate or the 230 million estimate?

   5    A.       Both.

   6    Q.       Both, essentially; is that right?

   7    A.       Yes.

   8    Q.       Okay.

   9                    MR. TROY:    I have no further questions, Your Honor.

  10    Thank you.

  11                    THE COURT:    Thank you, Mr. Troy.         We'll excuse you

  12    from the courtroom.

  13                    Ms. Parada, let's bring in Mr. Zipes and Mr. Etkin,

  14    and I'll verify from them what their requests are.

  15                    THE CLERK:    Yes, Your Honor.

  16         (Pause.)

  17                    THE COURT:    I see Mr. Zipes on the screen.

  18                    Mr. Zipes, can you hear me?

  19                    MR. ZIPES:    Yes, I can, Your Honor.          Can you hear me?

  20                    THE COURT:    Yes.    So during the prior testimony, my

  21    courtroom deputy told me you wanted to be heard.                      I didn't know

  22    if the debtors' counsel knew about your request or have a

  23    position on it.

  24                    What is it you want to do?         And we'll see if the other

  25    side has any objection.

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12    Page 58
                                         of 92
                                                                                       59

                                 PG&E Corporation, et al.

   1                MR. ZIPES:     Sure, Your Honor.          Greg Zipes from the

   2    U.S. Trustee's Office.         We did have a question for the debtors

   3    that we've -- we sent emails to debtors' counsel.                    We were

   4    hoping to get clarification on certain fees in connection with

   5    the financial projections.             And we did not get an answer on

   6    that.    So I wouldn't have very many questions for this witness.

   7                THE COURT:     Okay.       So --

   8                MR. ZIPES:     But on the other hand, I do think he's --

   9                THE COURT:     -- Mr. Tsekerides, is there any objection

  10    if we would -- after Mr. Etkin's done that Mr. Zipes asked some

  11    questions?

  12                MR. TSEKERIDES:        I think that's more appropriate for

  13    Mr. Slack, but I'll let him --

  14                THE COURT:     Oh, I'm sorry.         Yeah.

  15                MR. TSEKERIDES:        That's okay.

  16                MR. KAROTKIN:      Well, I --

  17                MR. TSEKERIDES:        Or Mr. Karotkin, apparently.

  18                MR. KAROTKIN:      Yes.      I don't understand what this has

  19    to do with Mr. Boken's testimony or, frankly, what Mr. Zipes is

  20    talking about.

  21                THE COURT:     Well, I got three lawyers arguing the

  22    position, and I thought Mr. Slack -- I mean, Mr. Zipes, you

  23    want to ask Mr. Boken some questions that are something he

  24    would know about and something that's embraced within his

  25    declaration?

Case: 19-30088   Doc# 7701   Filed: 06/01/20    Entered: 06/01/20 16:03:12   Page 59
                                       of 92
                                                                                      60

                                 PG&E Corporation, et al.

   1                MR. ZIPES:     We believe -- so Your Honor -- and we did

   2    send emails to debtors' counsel.             We have had some issues --

   3                THE COURT:     Which counsel --

   4                MR. ZIPES:     -- getting communications back.

   5                THE COURT:     Which specific counsel did you send an

   6    email to?

   7                MR. ZIPES:     We sent them to every -- the various

   8    attorneys at Weil and also the --

   9                THE COURT:     How much time -- how much time do you

  10    think you need to ask questions?

  11                MR. ZIPES:     I only need a few minutes, Your Honor,

  12    honestly.     It's -- these are just specific questions that we

  13    had based on filings that were made --

  14                THE COURT:     Okay.       I'll come back to that.

  15                MR. ZIPES:     -- earlier this week.

  16                THE COURT:     I'll come back to that.

  17                Mr. Etkin, I apologize to you.            I believe I had

  18    originally told my courtroom deputy to have you come after Mr.

  19    Abrams, and I called Mr. Troy.

  20                How much time do you need?

  21                MR. ETKIN:     I believe I need about fifteen to twenty

  22    minutes, at the most, Your Honor.

  23                THE COURT:     And Mr. Slack or whoever is going to

  24    speak, are you anticipating any redirect?

  25                MR. SLACK:     Your Honor, at this time, no, but

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 60
                                       of 92
                                                                                       61

                                          Boken - Cross

   1    obviously, we'll see what Mr. Etkin asks.

   2                 THE COURT:     Okay.       I'm just trying to figure out when

   3    to break.      I don't know about the rest of you, but having sat

   4    in long, long trials, I find sitting in much short trials in

   5    front of the computer to be more difficult.

   6                 I'll tell you what.          Mr. Etkin, I'm going to go ahead

   7    and let you have your fifteen minutes.

   8                 And Mr. Zipes, maybe you can do, during the fifteen

   9    minutes, some email exchanges with somebody and work something

  10    out.      But I probably will let you ask questions when we come

  11    back.

  12                 But I'm going to let -- and I'm going to take you out

  13    of the courtroom for now.           You'll be able to hear this.           We'll

  14    bring you back in when Mr. Etkin's finished.

  15                 MR. ZIPES:     Thank you, Your Honor.

  16                 THE COURT:     All right.       Mr. Etkin, you're up.        And Mr.

  17    Boken is on the screen, and he's been sworn.

  18                 MR. ETKIN:     Thank you, Your Honor.

  19    CROSS-EXAMINATION

  20    BY MR. ETKIN:

  21    Q.       Mr. Boken, I represent the Public Employees Retirement

  22    Association of New Mexico, which the lead plaintiff in pending

  23    securities litigation and a claimant in the Chapter 11, as well

  24    as certain other securities claimants.

  25             And I assume you still have your declaration in front of

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 61
                                        of 92
                                                                                       62

                                          Boken - Cross

   1    you, because that's going to be the focus of my questions.

   2    A.       I do, yes.

   3    Q.       Thank you.    Mr. Boken, at paragraph 4 of your declaration,

   4    you indicate that you began your engagement with the debtors in

   5    November of 2018.        See that?

   6    A.       Yes, I do.

   7    Q.       Now, were you aware, in the months prior to the petition

   8    date, of the pendency of the securities litigation involving

   9    PG&E, holdco, and the utility?

  10    A.       I was not specifically aware of it at the outset of our

  11    engagement, no.

  12    Q.       When did you first become aware of it?

  13    A.       I can't recall, precisely.

  14    Q.       And you also indicate, at paragraph 5 of your declaration,

  15    that you're familiar with the terms and provisions of the plan;

  16    is that correct?

  17    A.       Yes.

  18    Q.       And I think you even testified that you were involved, to

  19    some extent, in the drafting of the plan; is that right?

  20    A.       We were consulted, yes, by Weil on aspects of which we had

  21    knowledge to help put together the plan, yes.

  22    Q.       Thank you.    Are you familiar with the classes of claims

  23    set forth in the current version of the plan?

  24    A.       I'm generally familiar.         I don't -- without having the

  25    plan in front of me, I haven't committed to memory all of the

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 62
                                        of 92
                                                                                       63

                                          Boken - Cross

   1    claims classifications.

   2    Q.       Well, let's just go through a couple of things rather than

   3    go through the exercise of putting the plan in front of you and

   4    see what you can recall.

   5             Are you familiar with the classification of holdco

   6    subordinated debt claims under the plan, which is Class 9A?

   7    A.       I'm familiar with those claims, yes.

   8    Q.       Okay.

   9    A.       Generally familiar, I should say, with those claims.

  10    Q.       And are you familiar with the treatment of those claims

  11    under the plan?

  12    A.       Off the top of my head, I don't recall the treatment of

  13    the claims.

  14    Q.       Do you recall that they're deemed to be unimpaired under

  15    the plan?

  16    A.       I don't recall that, specifically.

  17    Q.       Okay.   And what about utility subordinated debt claims?

  18                 THE COURT:     Okay.       You're -- Mr. Etkin, I lost your

  19    question there.        Say that again.

  20                 MR. ETKIN:     I'm sorry.

  21    Q.       What about utility subordinated debt claims in Class 10B;

  22    do you have some familiarity with what those are?

  23    A.       I'm generally familiar with the nature of the claims, yes.

  24    Q.       And the treatment of those claims, any recollection?

  25    A.       I don't recall, specifically.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 63
                                        of 92
                                                                                       64

                                          Boken - Cross

   1    Q.       Okay.   And what about holdco rescission or damage claims,

   2    10 A(II), under the plan?

   3    A.       I'm generally familiar with the nature of those claims.

   4    Q.       Okay.   Before I get back into that, Mr. Boken, just a

   5    quick question on the section of your declaration regarding

   6    financial projections.          Those financial projections include the

   7    projections for 2021; is that right?

   8    A.       That's correct.

   9    Q.       And are you aware that those projections for 2021 are part

  10    of the determination of what's been referred to as normalized

  11    estimated net income in terms of figuring out stock values

  12    and -- for the TCC stock and the equity backstop commitment

  13    parties under the plan?

  14    A.       I am familiar that that's a component of the calculation,

  15    yes.

  16    Q.       Were you involved in putting together the concept of

  17    normalized estimated net income?

  18    A.       I was not.

  19    Q.       Okay.   And do you have any sense, one way or the other, as

  20    to whether that's an appropriate metric?

  21                 MR. SLACK:     Objection.

  22    A.       I don't have the -- sorry.

  23    Q.       Okay.

  24                 THE COURT:     I'm sorry --

  25    Q.       Moving --

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 64
                                        of 92
                                                                                        65

                                           Boken - Cross

   1                    THE COURT:   -- Mr. Slack -- excuse me.           Mr. Slack, did

   2    you interpose an objection?              I --

   3                    MR. SLACK:   I did, Your Honor.

   4                    THE COURT:   But he kind of answered the question, in a

   5    way.

   6                    MR. SLACK:   He did.

   7                    THE COURT:   Okay.       Then I'll overrule the objection.

   8                    MR. ETKIN:   And I'm moving on, Your Honor, so --

   9    Q.       I'd like to move to paragraph 12 of your declaration, Mr.

  10    Boken.

  11    A.       Yes.

  12    Q.       And particularly, you indicate that you and the claims

  13    team have been working on claims analysis since October of

  14    2019, once the bar date had passed, in your words?

  15    A.       That's correct.

  16    Q.       Are you aware of the fact that the bar date was extended

  17    for certain claimants in connection with the purchase of equity

  18    or debt securities from either of the debtors -- of either of

  19    the debtors, to April 16th --

  20    A.       I am aware of that, yes.

  21    Q.       -- of 2020?

  22             In terms of that process -- that review process, did you

  23    review any of those claims that were filed prior to the April

  24    16th extended bar date?

  25    A.       I'm sorry, which claims?

Case: 19-30088    Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 65
                                         of 92
                                                                                         66

                                          Boken - Cross

   1    Q.       The rescission and dam -- or damage claims that are the

   2    subject of the extended bar date order and proof of claim?

   3    A.       I don't recall the timing of when we would have reviewed

   4    claims.      It's possible that some of the rescission and damage

   5    claims were -- the review process started prior to the extended

   6    bar date for those claims.

   7    Q.       In paragraph 13 of your declaration, you indicate that you

   8    reviewed -- or the claims team reviewed nearly 20,000 proofs of

   9    claim.      Were any of the claims filed in connection with the

  10    extended bar date part of that review?

  11    A.       I believe that that 20,000 does include those claims, yes.

  12    Q.       And are you aware of how many of those claims -- and

  13    specifically, I'm referring to the holdco subordinated debt

  14    claims and the utility subordinated debt claims -- how many of

  15    those claims were reviewed?

  16    A.       I don't recall the specific number of those claims, no.

  17    Q.       Do you know how many of those claims were actually filed

  18    and made available to the claims team for review?

  19    A.       I don't have the specific numbers, no.

  20    Q.       Would the number approximately 1,600 ring a bell?                That

  21    was placed on the record by debtors' counsel at a conference

  22    before the Court.

  23    A.       If debtors' counsel put that number forward -- and I know

  24    that they're familiar with those claims -- I have no reason to

  25    suggest that it's any -- a number any different than that.

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 66
                                        of 92
                                                                                          67

                                          Boken - Cross

   1    Q.       And moving on to paragraph 14 of your declaration.                 You

   2    talk about methodologies deployed in terms of the claims

   3    analysis.        Were those methodologies that are set forth in

   4    paragraph 14 of your declaration deployed in connection with

   5    holdco subordinated debt claims?

   6    A.       There were different methodologies deployed relating to

   7    each -- to different categories and types of claims.                     So the

   8    same methodologies were not deployed to all claims; however,

   9    all the claims were reviewed in one manner or another.

  10    Q.       What was the methodology employed in connection with your

  11    analysis of the holdco subordinated debt claims or the utility

  12    subordinated debt claims?

  13    A.       Principally, we consulted with legal counsel, both in-

  14    house at PG&E and Weil, Gotshal, on the nature and substance of

  15    those claims in the aggregate in order to inform us and -- as

  16    to what and how they ought to be addressed in our estimate.

  17    Q.       Okay.   And you say at paragraph 15 that you and your

  18    claims team ended up estimating the amount of claims required

  19    to be funded under the plan.             And that would include, based

  20    upon what you just testified to, the holdco subordinated debt

  21    claims and the utility subordinated debt claims.                     Is that

  22    right?

  23    A.       The analysis did include evaluating those claims, yes.

  24    Q.       And you came up with an estimate of approximately one

  25    billion dollars for allowed nonwildfire, nonfunded debt claims;

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12    Page 67
                                        of 92
                                                                                       68

                                          Boken - Cross

   1    see that in paragraph 15?

   2    A.       Yes.

   3    Q.       What portion of that one billion dollars estimate was

   4    attributed to the holdco subordinated debt claims or the

   5    utility subordinated debt claims?

   6    A.       There is no amount included in that provision for either

   7    holdco equity claims or holdco debt -- or debt claims.

   8    Q.       Yeah.    Just for purposes of clarity in my question, I'm

   9    not talking about equity --

  10    A.       Okay.

  11    Q.       -- rescission or damage claims.           I'm talking about the

  12    holdco debt or the utility debt subordinated --

  13    A.       Right.

  14    Q.       -- claims separately classified under the plan.

  15    A.       Thank you for the --

  16    Q.       So --

  17    A.       -- clarification.

  18    Q.       So your testimony is that, out of the one-billion-dollar

  19    estimate, zero is estimated in connection with those two

  20    classifications of claims under the plan?

  21    A.       We do not have sufficient information to make an estimate

  22    on those claims, and so the one-billion-dollar estimate for

  23    nonwildfire, nonfunded debt claims does not include anything

  24    for those claims.

  25    Q.       Okay.    And outside of conversations with debtors' counsel,

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 68
                                        of 92
                                                                                       69

                                          Boken - Cross

   1    what other efforts were made to come up with any estimation of

   2    those claims which, under the plan, would have to be paid in

   3    full if allowed?

   4    A.       Based on discussions with counsel, which was our primary

   5    interface on this, we did not do any additional substantive

   6    analysis on those claims.

   7    Q.       And I think you testified a few minutes ago about the 330-

   8    million-dollar contingency set forth in paragraph 15 --

   9    A.       Yes.

  10    Q.       -- of your declaration.         And you had testified that that

  11    was a contingency available for claims in excess of the 1

  12    billion and also with respect to claims in excess of the 230

  13    million in terms of cure amounts; is that right?

  14    A.       Yes.   And just to clarify, it's also to address claims for

  15    which we did not have sufficient information to develop a

  16    reasonable estimate at this time.

  17    Q.       So by just testifying to that, is that intended to cover

  18    holdco's subordinated debt claims and utility subordinated debt

  19    claims?

  20    A.       The contingency is not specifically designated for any

  21    types of claims.        It is a contingency to address uncertainties

  22    about claims that have been filed that have yet to be

  23    liquidated, for one reason for another.

  24    Q.       In terms of -- in terms of reviewing those claims that

  25    came in in connection with the extended bar date, based upon

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 69
                                        of 92
                                                                                       70

                                          Boken - Cross

   1    the purchase of debt securities, did you take into account any

   2    liquidated amounts that may have been listed in connection with

   3    those proofs of claim?

   4    A.       I'm not sure I understand the question.             Can you restart

   5    it again --

   6    Q.       Well, if a proof -- let me try to help.             If a proof of

   7    claim came in with respect to the extended bar date relating to

   8    the purchase of debt securities, and the claimant listed, for

   9    example, that it's -- his or her claim was ten million dollars,

  10    was that -- as opposed to an unliquidated amount, was that

  11    taken into consideration with respect to your analysis?

  12    A.       Yes, we did review the amounts that may have been asserted

  13    in a claim, as well as claims that were unliquidated.                    We

  14    looked at them in their entirety as to the nature of the claim.

  15    We did not -- it wasn't particularly important to us what the

  16    amount was asserted at.          It was -- it was -- the legal

  17    assessment of what the company's exposure may be under those

  18    claims was the -- the key influencer on how we developed our

  19    estimates relative to these claims.

  20    Q.       And I would have to presume then that the legal estimate

  21    was zero since there was nothing attributed to those claims

  22    with respect to the billion-dollar estimate?

  23    A.       Well, the debtor has publicly stated that it does not

  24    believe that those claims have any merit.                So that was part of

  25    the process of determining that we did not feel it was

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 70
                                        of 92
                                                                                       71

                                          Boken - Cross

   1    reasonable or necessary at this time to include any estimate

   2    for those claims.

   3    Q.       But in terms of the debtors' obligations under the plan,

   4    which, in terms of those claims, is an obligation to pay them

   5    in full, if allowed, would it change your assessment or any of

   6    the statements that you make in your declaration if those

   7    claims were to turn out to be in the hundreds of millions of

   8    dollars, hypothetically?

   9    A.       It would not -- it would not change the statement in my

  10    declaration to say that the company has the resources to both

  11    implement the plan and to meet its obligations on a going-

  12    forward basis.

  13    Q.       And I take that to mean that that would include any

  14    ultimate liability in connection with the holdco or utility

  15    subordinated debt claims?

  16    A.       Any liability that would arise after resolution, where

  17    PG&E would be deemed to be liable and after the application of

  18    appropriate insurance proceeds.

  19                 THE COURT:     So we're a little past fifteen minutes.

  20    You about done?

  21                 MR. ETKIN:     Close to done, Your Honor.

  22                 THE COURT:     Okay.

  23    Q.       So just to clarify, Mr. Boken.           So to the extent that any

  24    of these claims were filed in liquidated amounts by claimants,

  25    the amounts set forth were effectively ignored in terms of

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 71
                                        of 92
                                                                                        72

                                          Boken - Cross

   1    coming up with your estimate?

   2                 MR. KAROTKIN:      I object to the question, Your Honor.

   3    He already answered that question, and he's characterizing it

   4    inappropriately.

   5                 THE COURT:     Yeah.       I think -- I don't mind an --

   6    asking the same question, but he didn't say "ignored".                    He

   7    said, you know, take -- treat it as zero reserve for his

   8    purposes.      That's not the same as ignoring.

   9                 MR. ETKIN:     I appreciate the help, Your Honor.

  10                 THE COURT:     Well --

  11                 MR. ETKIN:     That's -- that -- that's fine.             Let's ask

  12    it that way.

  13    Q.       So none of those claims with liquidated amounts were

  14    factored in with respect to those liquidated amounts in

  15    connection with your estimate?

  16    A.       When we developed the estimates, we tried to make an

  17    assessment as to what may materialize as an allowed claim.                     And

  18    based on consultations with counsel, we didn't think it was

  19    necessary or -- at this time to conclude any -- to provide any

  20    specific estimates for those claims, regardless of what might

  21    have been asserted on the claim.

  22    Q.       But again, you believe that if that judgment turns out to

  23    be incorrect, that the debtor would still be -- the debtors

  24    would still be in a position to satisfy their obligations with

  25    respect to those claims, as set forth in the current version of

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 72
                                        of 92
                                                                                       73

                 PG&E Corporation and Pacific Gas and Electric Company

   1    the plan?

   2    A.       I believe the company has sufficient resources coming in

   3    through the plan and post-emergence and in addition access to

   4    resources going forward to address any contingencies beyond

   5    which we provided for in the claims estimates in my

   6    declaration.

   7                 MR. ETKIN:     I have no further questions, Your Honor.

   8                 THE COURT:     Okay.       Thank you, Mr. Etkin.

   9                 MR. ETKIN:     Thank you, Mr. Boken.

  10                 THE COURT:     Thank you.

  11                 THE WITNESS:      Thank you.

  12                 THE COURT:     Okay.       Ms. Parada, would you bring Mr.

  13    Zipes back in and excuse Mr. Etkin?

  14                 Okay.    Mr. Zipes, you said you only have a few

  15    questions.      And that's about all the time I have for you,

  16    because you were unexpected to be here.

  17                 MR. ZIPES:     Yes.

  18                 THE COURT:     So you didn't make any progress in the

  19    last fifteen minutes, did you?

  20                 MR. ZIPES:     Your Honor, we -- I reemailed the

  21    question, and I don't know if the debtors -- it might just be

  22    easier to ask the question now of the witness.

  23                 THE COURT:     Okay.       Go ahead and ask the question.

  24                 MR. SLACK:     Your Honor, can I be heard just for a

  25    second, just to lodge --

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 73
                                        of 92
                                                                                      74

                 PG&E Corporation and Pacific Gas and Electric Company

   1                THE COURT:     Yes.

   2                MR. SLACK:     -- an objection for the record --

   3                THE COURT:     Yes, that's fine.

   4                MR. SLACK:     -- which is, if you look at the objection

   5    that was filed by the U.S. Trustee, it doesn't relate to fees.

   6    There's nothing in it about this subject.               It goes entirely

   7    beyond their objection.         And so the fact that not only was this

   8    not identified, but then is outside the scope of their

   9    objection, we think makes this questioning inappropriate.

  10                THE COURT:     Well, it may be.        I -- again, I'm in this

  11    is awkward situation.         In the time I might be able to figure

  12    out the answer, I'm just going to let him ask the question.

  13                MR. KAROTKIN:      Your Honor, can I interject something

  14    that's --

  15                THE COURT:     No, I just got to move it forward on this.

  16    I can't -- Mr. Karotkin, I just can't do it --

  17                MR. KAROTKIN:      Well, I think I can short circuit this

  18    pretty easily.

  19                THE COURT:     That's okay.

  20                MR. KAROTKIN:      I'm sorry.       I apologize.        The --

  21                THE COURT:     Go ahead.

  22                MR. KAROTKIN:      I think what Mr. Zipes is asking

  23    about -- because I know the email has just sent me again -- is

  24    fee lenders that were filed under seal in the last two or three

  25    days.     And so I think that's what he's asking questions about,

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 74
                                       of 92
                                                                                       75

                 PG&E Corporation and Pacific Gas and Electric Company

   1    is -- he can correct me if I'm wrong -- but it's with respect

   2    to three fee letters which were recently filed under seal.

   3                THE COURT:      Well, is that the subject matter of your

   4    question, Mr. Zipes?

   5                MR. ZIPES:      Yes, Your Honor.        And the debtors had

   6    filed these motions to seal just --

   7                THE COURT:      Okay.       But I haven't --

   8                MR. ZIPES:      -- this week.        So we did have some

   9    questions.

  10                THE COURT:      Yeah, I haven't looked at any of that

  11    stuff.     So I think that in view of what Mr. Karotkin says,

  12    here's what I'm going to do.             I'm going to err on the side of

  13    caution here and say it's not appropriate to ask questions, not

  14    because you didn't designate it but because I don't know what

  15    the seal was.        If it's just information that you believe the

  16    U.S. Trustee should be entitled to, maybe Mr. Karotkin and you

  17    can work out an agreement where he can provide you with the

  18    information under some sort of protective circumstance.                    That's

  19    what the U.S. Trustee has done in countless other cases.

  20                If it really becomes necessary for you to ask

  21    questions, I'll have to inquire in a -- inquire Mr. Boken to

  22    make himself available again.             There are very few advantages to

  23    shelter at home and the COVID crisis, but one of the real

  24    advantages is most witnesses have no excuse other than to just

  25    be available for a question or two.

Case: 19-30088   Doc# 7701    Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 75
                                        of 92
                                                                                        76

                 PG&E Corporation and Pacific Gas and Electric Company

   1                So Mr. Boken, we may impose upon you to come back

   2    and -- to "come back" to the virtual courtroom and answer

   3    questions.

   4                Mr. Karotkin, you persuaded me -- you interrupted me

   5    politely and persuaded me to do what I'm doing.                 So I'm going

   6    to try to persuade you to work something out with Mr. Zipes on

   7    your own to see if they can put this bed -- this baby to rest.

   8                MR. KAROTKIN:      I was just going to say the same thing,

   9    Your Honor.     We will endeavor to do that, and I'm quite

  10    confident we can work it out.

  11                THE COURT:     Okay.       Okay, Mr. Zipes.      Thank you.

  12                MR. ZIPES:     And Your Honor, I very much appreciate

  13    this.     The reason that we did think it was relevant to ask

  14    questions today is because the fees do go to feasibility.                     And

  15    Your Honor, I heard what you said, so I'm good.

  16                THE COURT:     If you really have a reason to ask this

  17    witness some questions, I'll make him -- we'll make it work.

  18                Mr. Slack --

  19                MR. ZIPES:     Thank you, Your Honor.

  20                THE COURT:     -- if you tell me you want any redirect, I

  21    might tell you we're going to take a break.                But if you don't

  22    have redirect, I -- that's good news.

  23                What's your pleasure?

  24                MR. SLACK:     I do not have any redirect, Your Honor.

  25                THE COURT:     Okay.       Mr. Boken, thank you for making

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 76
                                       of 92
                                                                                       77

                 PG&E Corporation and Pacific Gas and Electric Company

   1    yourself available and testifying.

   2                 Thank you all, counsel.

   3                 I will conclude the hearing and look forward to our

   4    next session, which is Monday, 10 o'clock our time.                    Stay tuned

   5    for whatever happens between now and then.

   6                 Thank you.     Have a good day.

   7                 MR. KAROTKIN:      Have a good weekend.

   8                 IN UNISON:     Thank you, Your Honor.

   9                 THE COURT:     Mr. Karotkin, any final -- something you

  10    need to say?

  11                 MR. KAROTKIN:      No, no.      I said, have a good weekend.

  12                 THE COURT:     Okay.       All right.    Thank you all.

  13                 Thank you, Ms. Parada and Ms. Thomas for your

  14    assistance.      And I'm going to conclude the meeting.

  15                 THE CLERK:     Thank you, Your Honor.

  16                 IN UNISON:     Thank you.

  17             (Whereupon these proceedings were concluded)

  18

  19

  20

  21

  22

  23

  24

  25

Case: 19-30088    Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 77
                                        of 92
                                                                                       78



   1                                           I N D E X

   2    WITNESS                   EXAMINATION BY              PAGE

   3    Christina Pullo           Ms. Wallace                  8

   4    John Boken                Mr. Abrams                   25

   5    John Boken                Mr. Troy                     50

   6    John Boken                Mr. Etkin                    61

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

Case: 19-30088   Doc# 7701   Filed: 06/01/20    Entered: 06/01/20 16:03:12   Page 78
                                       of 92
                                                                                      79



   1                             C E R T I F I C A T I O N

   2

   3    I, Linda Ferrara, certify that the foregoing transcript is a

   4    true and accurate record of the proceedings.

   5

   6

   7

   8    ________________________________________

   9    /s/ LINDA FERRARA, CET-656

  10

  11    eScribers

  12    7227 N. 16th Street, Suite #207

  13    Phoenix, AZ 85020

  14

  15    Date:    June 1, 2020

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

Case: 19-30088   Doc# 7701   Filed: 06/01/20   Entered: 06/01/20 16:03:12   Page 79
                                       of 92
PG&E CORPORATION AND                                                                                               Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                        May 29, 2020

                              27:5                        7:11,13,25;10:18;          59:17                   assistance (2)
           A               add (1)                        11:18;16:9,20;17:17;     appear (1)                   26:13;77:14
                              53:21                       20:4;24:1;25:21;32:17;     54:21                   assisting (1)
AB (2)                     addition (2)                   40:17;61:6;73:23;        appears (2)                  28:13
  35:16;47:11                 13:13;73:3                  74:21                      41:4;54:14              associated (14)
abate (1)                  additional (1)              AII (1)                     application (1)              26:14;28:12;30:17;
  43:25                       69:5                        64:2                       71:17                      34:5;35:17,19;36:25;
ability (5)                address (8)                 AlixPartners (2)            appointed (1)               37:6;42:17;43:2;44:17,
  35:14;40:2;41:16;           6:2;41:22;48:8;56:5;        24:17;26:7                 26:8                       24;46:13;47:16
  43:21;44:3                  58:3;69:14,21;73:4       allocations (1)             appointment (1)           Association (1)
able (8)                   addressed (2)                  4:18                       5:5                        61:22
  7:23;24:4;28:17;            36:4;67:16               allowed (5)                 appreciate (7)            assume (4)
  30:22;34:4;46:3;61:13;   addresses (2)                  57:21;67:25;69:3;          25:23;26:1;38:13;          5:24;6:5;50:8;61:25
  74:11                       34:17;35:6                  71:5;72:17                 49:3;57:11;72:9;76:12   assumed (1)
Abrams (72)                addressing (1)              almost (1)                  appropriate (5)              50:22
  4:13;25:6,8,9,10,12,        39:20                       22:12                      23:14;59:12;64:20;      assumes (2)
  16,20,22,25;28:3;29:6,   adequate (2)                along (1)                     71:18;75:13                43:4;45:7
  8,16;31:1,8,10,17,20;       22:7;30:1                   26:25                    approximately (4)         assuming (1)
  32:5,23;33:4,7,8,25;     adherent (2)                Alsup (2)                     53:6,23;66:20;67:24        45:6
  34:13,16;35:3,4,5,25;       15:13,14                    32:9;33:1                April (4)                 assumption (1)
  36:2,6,16,22;37:4,5,9,   adhering (1)                alternative (1)               14:17;26:25;65:19,         18:20
  11,13;38:4,8,13,15;         15:24                       48:25                      23                      attached (1)
  39:22;40:5,8,10,13,18,   admitted (1)                among (1)                   argue (2)                    51:1
  19,24;41:3,20;42:9,21,      24:18                       16:16                      6:15;20:24              attempted (1)
  23,24;43:15;44:6,7,8;    advantages (2)              amount (13)                 argues (1)                   51:20
  45:10,13,18;46:4,6,8;       75:22,24                    12:15;36:25;37:23;         30:10                   attention (3)
  47:15;49:2,4;60:19       advisors (1)                   47:19,20;53:10,19;       arguing (1)                  18:12;29:17;56:2
Abrams' (1)                   26:8                        54:11;55:1;67:18;68:6;     59:21                   attorney (2)
  37:20                    affairs (4)                    70:10,16                 argument (3)                 21:24;50:6
abundantly (1)                26:23;46:1;51:2,22       amounts (12)                  5:1,24;16:3             attorneys (1)
  52:14                    affect (2)                     53:15,22,22;54:13,       arguments (5)                60:8
accept (2)                    44:20;45:16                 24;69:13;70:2,12;          4:17,25;5:9;6:1;        attributed (2)
  16:18;22:2               affected (1)                   71:24,25;72:13,14          15:16                      68:4;70:21
accepted (1)                  42:11                    analyses (10)               arise (1)                 atypical (1)
  40:1                     afternoon (2)                  27:5;42:14,16;45:15;       71:16                      18:1
access (2)                    49:16;50:5                  46:10,13,20;47:16,21,    around (2)                authorized (1)
  48:6;73:3                again (33)                     25                         28:11;53:4                 16:16
accordance (5)                3:16,22;6:13,23;         analysis (16)               arrangement (1)           availability (1)
  9:25;13:2;18:5;             7:10;8:15,17;16:2,8,9;      29:2;37:23;43:1,17,        34:25                      41:7
  20:10;33:13                18:16,22;22:3;23:5,16;       20;44:11,19,20;46:24;    arrived (1)               available (6)
account (7)                   24:3;25:9;29:15;31:9;       48:13;65:13;67:3,11,       17:22                      56:11;66:18;69:11;
  42:10,15;46:19;47:6,        32:23;35:1;36:19;           23;69:6;70:11            articulate (1)               75:22,25;77:1
  17;48:1;70:1                45:10,25;48:17;55:3,     analyst (1)                   38:23                   avoid (2)
accounted (2)                 25;63:19;70:5;72:22;        32:4                     ascertain (2)                33:11,17
  44:10,11                    74:10,23;75:22           Ankey (1)                     52:6;54:20              aware (17)
accumulated (1)            agencies (1)                   14:1                     aspects (5)                  13:24,25;27:24;33:2;
  51:19                       50:7                     announcements (2)             26:11;29:23;30:7;          35:17;36:4;38:5,7;
accurately (1)             agency (2)                     4:6,10                     34:23;62:20               43:9;45:11;62:7,10,12;
  9:19                        54:21;55:2               annual (1)                  asserted (3)                 64:9;65:16,20;66:12
acknowledge (1)            aggregate (4)                  35:9                       70:12,16;72:21          awkward (2)
  41:14                       38:2;53:10,21;67:15      annually (1)                assess (1)                   34:25;74:11
act (1)                    aggregated (2)                 35:11                      29:19
  33:12                       53:16;57:22              answered (6)                assessed (1)                         B
acting (1)                 aggregates (1)                 9:6;10:14;45:19;           34:1
  44:16                       37:23                       48:18;65:4;72:3          assessment (4)            B-1 (1)
activities (4)             ago (3)                     anticipating (2)              30:5;70:17;71:5;          17:21
  26:14;34:2;35:7;            34:22;43:8;69:7             6:8;60:24                  72:17                   baby (1)
  44:23                    agreement (2)               anymore (2)                 assets (1)                  76:7
actual (1)                    54:20;75:17                 5:19;11:7                  26:22                   back (17)
  58:1                     agreements (7)              apologize (6)               assignment (1)              5:20;7:6;9:16;43:25;
actually (3)                  51:3,5,6,20,25;52:21,       11:15;31:10;42:23;         33:6                      50:25;51:12;52:20;
  18:18;56:5;66:17            22                          50:18;60:17;74:20        assist (1)                  53:13;60:4,14,16;
ad (1)                     ahead (16)                  apparently (1)                16:16                     61:11,14;64:4;73:13;

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                                        (1) AB - back
     Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                      operations@escribers.net Entered: 06/01/20 16:03:12                      Page 80
                                                      of 92
PG&E CORPORATION AND                                                                                                    Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                             May 29, 2020

   76:1,2                   bodies (1)                  called (3)                     56:18                         18,18,21,21,23,25;
backstop (2)                  45:5                        19:17,24;60:19            certainty (2)                    68:4,5,7,7,11,14,20,22,
   58:2;64:12               Boken (53)                  calls (2)                      9:12;54:25                    23,24;69:2,6,11,12,14,
ballot (12)                   22:17;23:7,20;24:6,         18:13;42:3                certificate (7)                  18,19,21,22,24;70:13,
   8:9,11,25;9:3,13,16,       7,8,14,14,17;25:4;26:1;   came (3)                       9:15;13:4,13,16,19;           18,19,21,24;71:2,4,7,
   17;11:22,22;18:2;19:4,     27:16;29:11;31:5;32:1,      67:24;69:25;70:7             18:5,10                       15,24;72:13,20,25;73:5
   21                         3;33:1,19;34:9,21;        Camp (1)                    cetera (2)                    clarification (2)
ballots (14)                  35:1;36:3,12,22;37:15;      7:18                         37:19;43:5                    59:4;68:17
   9:21;10:8,10,12,23;        39:3;40:14;41:11;42:7;    Can (86)                    CFA (2)                       clarify (6)
   11:17,24;12:1;15:24;       43:8,12;45:14;46:22;        3:7,9,20;6:16,16,17,         46:9,23                       14:3;24:20;36:11;
   17:21,25;18:14;19:7;       47:24;48:10,22;49:3;        20,21,22,24,25;7:3,4,5,   chambers (3)                     46:23;69:14;71:23
   22:1                       50:1,5,14;56:1;57:14;       9,20;8:22;10:25;11:2,        5:15,17,19                 clarifying (1)
bankruptcy (4)                59:23;61:17,21;62:3;        5,13,14;12:18;13:11,      chances (1)                      47:13
   3:4;30:17;37:7;            64:4;65:10;71:23;73:9;      20;14:12;15:18;17:10,        56:13                      clarity (1)
   52:23                      75:21;76:1,25               17;18:2,23;19:9;20:5,     change (3)                       68:8
bar (8)                     Boken's (3)                   24;22:4,6,22;25:11;          43:16;71:5,9               Class (4)
   65:14,16,24;66:2,6,        36:16;38:11;59:19           26:16;27:9;31:12,25;      changed (1)                      18:5,10;63:6,21
   10;69:25;70:7            books (1)                     32:11;33:17,19;34:1,         5:16                       classes (1)
based (8)                     53:13                       25;36:19,20,24;37:19,     changeover (1)                   62:22
   23:13;29:19;54:12;       both (11)                     20;38:23;39:2;41:7,11;       27:23                      classification (1)
   60:13;67:19;69:4,25;       24:25;28:1;30:2;            42:7,19;43:17;44:14;      channels (1)                     63:5
   72:18                      36:1,2;41:6;52:12;          46:7,22,23;47:8,24;          22:23                      classifications (2)
basis (2)                     58:5,6;67:13;71:10          48:20,20;49:21,21;        Chapter (4)                      63:1;68:20
   39:14;71:12              Break (4)                     53:18;55:3;56:20;            26:11,14;36:5;61:23        classified (1)
Becker (2)                    34:13;42:25;61:3;           58:18,19,19;61:8;63:4;    characterizing (1)               68:14
   27:15,19                   76:21                       70:4;73:24;74:13,17;         72:3                       classify (1)
become (1)                  breakdown (2)                 75:1,17,17;76:7,10        charge (1)                       28:25
   62:12                      36:17;48:13               capacity (1)                   21:25                      clear (5)
becomes (1)                 breaking (1)                  26:10                     charges (1)                      52:9,14;56:4,9;57:5
   75:20                      44:9                      capital (3)                    32:9                       clearly (1)
bed (1)                     breaks (1)                    35:12;43:22;48:6          check (1)                        44:14
   76:7                       37:18                     care (1)                       25:13                      CLERK (23)
began (1)                   brief (1)                     20:21                     chief (4)                        3:4,9,11,21;4:3;6:25;
   62:4                       30:10                     carried (1)                    26:9,9;27:11;28:23            10:7;11:2,8;16:16;
beginning (1)               bring (10)                    17:6                      circuit (1)                      18:12;19:17,18,21;
   55:14                      4:3;18:12;25:4,7;         case (9)                       74:17                         21:8,9;24:11,12;25:7;
believes (1)                  32:25;45:25;49:5;           5:13;7:17;18:1;           circumstance (1)                 49:8,13;58:15;77:15
   32:23                      58:13;61:14;73:12           21:21;26:12,24;48:14,        75:18                      Clerk's (2)
bell (1)                    bringing (2)                  14;50:7                   circumstances (1)                9:1;16:23
   66:20                      3:11;29:17                cases (1)                      48:2                       close (2)
beneath (1)                 brought (3)                   75:19                     Civil (1)                        53:21;71:21
   27:12                      6:20;26:6;47:7            cash (3)                       50:6                       closing (3)
best (3)                    building (1)                  26:12;27:4;43:21          claim (13)                       5:25;6:6;23:1
   6:15;17:10;48:14           5:17                      cast (1)                       13:6;15:2;18:9;            coat (1)
better (4)                  burden (1)                    16:18                        19:19;66:2,9;70:3,7,9,        3:15
   3:23,24,25;6:16            6:3                       catastrophic (2)               13,14;72:17,21             colleague (1)
betting (1)                 business (2)                  38:20;46:19               claimant (2)                     26:8
   9:13                       26:13;33:23               categories (1)                 61:23;70:8                 colleagues (1)
beyond (5)                                                67:7                      claimants (8)                    48:3
   14:10;34:20,23;73:4;                C                cause (2)                      9:13;15:23;22:6;           collectively (1)
   74:7                                                   38:19;43:16                  37:1,8;61:24;65:17;           47:2
Bijur (1)                   calculation (1)             caused (1)                     71:24                      column (2)
   27:14                      64:14                       46:20                     claims (101)                     53:19,22
billion (14)                calculations (1)            caution (1)                    26:13;35:23;36:4;          combine (1)
   35:12,13;38:3,6,17,        46:14                       75:13                        37:23,24,25,25;50:19,         35:11
   17,18,22,24;57:20;       calendar (3)                central (2)                    20,24;51:8,11,13,15,       coming (4)
   58:4;67:25;68:3;69:12      4:22,23;5:4                 28:15;30:22                  23;52:6,16;53:9;57:19,        48:4;54:4;72:1;73:2
billion-dollar (1)          CALIFORNIA (6)              CEO (2)                        21,23;62:22;63:1,6,7,9,    commitment (1)
   70:22                      3:1,5;7:18;38:6,7;          27:24,24                     10,13,17,21,23,24;            64:12
billions (1)                  39:6                      certain (4)                    64:1,3;65:12,13,23,25;     committed (2)
   35:22                    Call (5)                      29:23;59:4;61:24;            66:1,4,5,6,8,9,11,12,14,      38:1;62:25
blank (2)                     3:3;7:22;16:12;             65:17                        14,15,16,17,18,24;         communications (1)
   29:4;55:2                  22:15,22                  certainly (1)                  67:2,5,7,8,9,11,12,15,        60:4

Min-U-Script®                                      eScribers, LLC | (973) 406-2250                        (2) backstop - communications
      Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                       operations@escribers.net Entered: 06/01/20 16:03:12                          Page 81
                                                      of 92
PG&E CORPORATION AND                                                                                            Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                     May 29, 2020

company (25)                 29:21;30:10,12;54:6;       28:12                       7:20;16:6;18:12        20:11;56:22
  10:15;16:4,5;17:11;        55:14,16,17              counsel (17)                cover (1)              deal (5)
  20:3;21:25;26:2;27:20;   confirmed (2)                3:11;4:24;5:10;6:15;        69:17                  15:19;49:15;55:17;
  28:13,20;30:1,5,11;        56:22,22                   21:16;58:22;59:3;60:2,    COVID (10)               56:24;57:1
  31:13;32:24;39:13;       conflict (3)                 3,5;66:21,23;67:13;         5:15;40:3;42:2,12;   dealt (3)
  43:18;46:2;47:1,11;        21:23;41:4,13              68:25;69:4;72:18;77:2       43:1,10,19,24,24;75:23 35:23;55:15;56:20
  48:3,4,23;71:10;73:2     confusing (1)              counted (3)                 COVID-19 (2)           debt (26)
company's (8)                34:15                      9:19;17:22;20:23            20:8;40:20             37:24;57:21;63:6,17,
  35:9,14;41:16;43:21;     conjunction (3)            counterparties (1)          CPUC (3)                 21;65:18;66:13,14;
  44:21;47:4;53:13;          27:1;43:18;51:4            53:14                       30:13;44:14;45:3       67:5,11,12,20,21,25;
  70:17                    connect (1)                counterparty (3)            create (1)               68:4,5,7,7,12,12,23;
compile (1)                  11:8                       54:15,22;56:25              51:13                  69:18,18;70:1,8;71:15
  51:16                    connection (10)            counting (1)                created (1)            debtor (6)
compiled (1)                 59:4;65:17;66:9;           21:25                       51:19                  4:16;16:24;50:22;
  26:23                      67:4,10;68:19;69:25;     countless (1)               creating (1)             56:23;70:23;72:23
complete (1)                 70:2;71:14;72:15           75:19                       51:15                debtor-in-possession (1)
  7:23                     consequences (2)           couple (12)                 criminal (1)             27:4
completely (2)               15:20;32:13                4:6,7,9,10,19;19:11;        32:10                debtors (12)
  47:8,8                   consider (2)                 20:18;32:18;34:22;        crisis (1)               16:16;24:16;30:14;
compliance (2)               22:24;30:21                56:18;57:3;63:2             75:23                  55:10;56:5;59:2;62:4;
  28:23;33:9               consideration (1)          course (5)                  critical (1)             65:18,19;72:23;73:21;
complicated (1)              70:11                      28:21;30:8;48:18;           6:15                   75:5
  34:8                     considered (6)               52:22;57:6                CROSS-EXAMINATION (4) debtors' (10)
complied (3)                 15:13,13,24;20:14,       Court (185)                   8:4;25:24;50:3;        4:17;27:9;40:2;
  9:20;16:4,6                14;24:22                   3:3,4,5,7,10,12,15,         61:19                  58:22;59:3;60:2;66:21,
comply (3)                 consistent (1)               19,23,25;4:5,9;6:4,11,    cross-examining (1)      23;68:25;71:3
  9:1;30:6;31:13             33:22                      13,19;7:2,4,6,24;8:2,       56:14                decided (1)
complying (2)              consultations (1)            12,15,17,20;9:6,9;10:2,   cure (12)                13:9
  26:14;33:16                72:18                      4,14,18,25;11:4,10,15;      53:10,19,22;54:5,11, declaration (34)
component (5)              consulted (5)                13:11,18;14:2,20;15:4,      13,23,24;55:1;57:22,   8:13;9:22;22:11;
  28:16;30:9;34:2;           27:10;31:21,25;            15;16:2,20,25;17:3,10,      23;69:13               24:18;27:7;30:3;33:6;
  35:14;64:14                62:20;67:13                17;18:16,21;19:5,17,      current (5)              34:21;36:16,18;37:15;
components (1)             contacts (1)                 20;20:1,15,19;21:3;         27:19;28:1;46:1;       39:25;40:15,23;41:2,4,
  44:21                      27:11                      22:2,10,13,21;23:16,        62:23;72:25            9;50:9;53:11;57:14,18;
compound (3)               contingencies (2)            25;24:8,20;25:3,9,11,     cut (1)                  59:25;61:25;62:3,14;
  34:14;42:18;44:9           48:8;73:4                  13,18,21;26:6;27:16;        31:12                  64:5;65:9;66:7;67:1,4;
compromising (1)           contingency (8)              29:11,14;30:25;31:9,                               69:10;71:6,10;73:6
  25:19                      44:22;45:20;57:19;         12,18,25;32:16,22;                    D          declarations (2)
computer (1)                 58:3;69:8,11,20,21         33:5,19;34:8,12,24;                                17:21;24:22
  61:5                     contingency's (1)            35:3,20;36:1,3,9,13,15;   dam (1)                decline (2)
concept (1)                  58:1                       37:9,12,14,17;38:8;         66:1                   23:19,21
  64:16                    continue (3)                 39:2;40:4,7,9,12,14,17,   damage (6)             deemed (4)
concepts (1)                 30:22;32:11;41:5           22;41:1,11;42:5,18,22;      47:19,20;64:1;66:1,    39:18;52:24;63:14;
  42:20                    continuing (1)               43:7,15;44:5,7;45:9,17,     4;68:11                71:17
concerned (1)                56:7                       19;46:5,22;47:14,24;      damages (5)            deficiencies (1)
  54:5                     contract (8)                 48:20;49:4,12,14,21,        35:18;36:25;37:7,9;    17:7
concerning (1)               52:1,1,7,11,15,17;         23,25;50:13,16;53:25;       39:21                defined (1)
  4:16                       55:15;56:24                54:2;55:3,9,11,24;        danger (1)               52:11
concise (1)                contracts (12)               56:15,17;57:10;58:11,       42:13                degree (9)
  25:17                      50:21;51:1,3,6,6;          17,20;59:7,9,14,21;       date (10)                28:16,24;32:6;38:18,
conclude (9)                 52:9,10,21,22,25;53:3;     60:3,5,9,14,16,23;61:2,     15:16;62:8;65:14,16,   22;42:11,15;45:14;
  20:15;21:4;22:11,14;       55:23                      16;63:18;64:24;65:1,4,      24;66:2,6,10;69:25;    46:12
  23:4;57:4;72:19;77:3,    conversations (1)            7;66:22;71:19,22;72:5,      70:7                 delay (1)
  14                         68:25                      10;73:8,10,12,18,23;      day (2)                  20:11
concluded (1)              copies (3)                   74:1,3,10,15,19,21;         8:13;77:6            delayed (2)
  77:17                      5:15,17,19                 75:3,7,10;76:11,16,20,    days (1)                 16:10;20:8
conclusion (1)             copy (4)                     25;77:9,12                  74:25                deliverables (2)
  16:25                      7:22;13:4,12;14:7        court-approved (1)          day-to-day (2)           26:17,19
conference (1)             correctly (3)                20:10                       26:11;41:15          delta (1)
  66:21                      25:15;43:13;53:5         courtroom (8)               deadline (9)             38:16
confident (5)              correspondence (1)           24:3,25;49:5;58:12,         9:14;12:10,13,17,21, Dennis (1)
  48:2,3,3,4;76:10           19:20                      21;60:18;61:13;76:2         25;17:23;20:13;22:8    3:6
confirmation (7)           cost (1)                   Court's (3)                 deadlines (2)          Department (1)

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                         (3) company - Department
     Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                      operations@escribers.net Entered: 06/01/20 16:03:12                    Page 82
                                                     of 92
PG&E CORPORATION AND                                                                                             Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                      May 29, 2020

  50:6                       27:2;37:22;48:24           26:24                     67:18                    events (4)
depending (1)              disconnect (1)            earnings (6)              engagement (2)                44:2,24,25;45:4
  27:6                       11:11                      40:20,25;41:2,5,8;        62:4,11                  everybody (2)
depends (1)                discovery (1)                43:21                  enough (2)                    11:15;38:10
  17:18                      57:6                    easier (2)                   42:23;57:8               everyone (3)
deployed (4)               discussion (2)               29:7;73:22             entirely (2)                  7:15;11:10;23:17
  67:2,4,6,8                 15:10;54:8              easily (1)                   56:8;74:6                evidence (7)
deployment (1)             discussions (3)              74:18                  entirety (1)                  18:18,20;24:18,22;
  41:7                       28:4,7;69:4             effect (3)                   70:14                      32:20;43:6;45:8
deposition (1)             dislocations (1)             41:16,18,21            entitled (7)                exactly (8)
  20:16                      43:5                    effective (1)                9:2,16;15:15,16;           12:3;36:11;44:13;
deputy (3)                 dispute (2)                  39:19                     22:16;23:2;75:16           46:25;51:11;52:5;
  26:9;58:21;60:18           56:10,10                effectively (1)           entitlement (1)               55:12,12
describe (1)               disruption (1)               71:25                     23:2                     examination (2)
  27:9                       41:14                   efforts (3)               entries (1)                   22:14;57:4
designate (1)              disruptions (1)              15:6;34:18;69:1           54:20                    examine (2)
  75:14                      41:6                    either (6)                equal (2)                     49:25;56:1
designated (2)             dissolving (1)               41:17;52:12;55:15;        19:25;53:23              examiner (1)
  5:18;69:20                 32:13                      65:18,18;68:6          equipment (2)                 5:5
detailed (1)               distribution (1)          Electric (12)                39:16;46:20              example (2)
  18:10                      16:17                      26:2,4,18;27:25;       equity (4)                    46:15;70:9
determination (5)          District (1)                 28:16;30:22;32:14;        64:12;65:17;68:7,9       excess (2)
  51:4,25;52:13,17;          3:5                        34:18;35:7;38:19,25;   err (1)                       69:11,12
  64:10                    Division (1)                 41:25                     75:12                    exchanges (1)
determine (2)                50:7                    Electric's (1)            essentially (2)               61:9
  9:18;53:9                document (2)                 41:22                     53:12;58:6               excuse (9)
determined (4)               16:21;55:1              electronic (1)            established (3)               22:3,15;23:6;27:16;
  53:6,14;55:13;57:19      documents (3)                24:3                      15:6;18:23;35:16           49:5;58:11;65:1;73:13;
determining (1)              8:10;13:7;32:8          electronically (4)        estimate (17)                 75:24
  70:25                    DOJ (1)                      13:2,9,14;14:9            6:5;7:19;57:20;58:4,     executory (15)
develop (1)                  54:6                    element (1)                  4;67:16,24;68:3,19,21,     50:21;51:5,6;52:1,1,
  69:15                    dollars (15)                 28:19                     22;69:16;70:20,22;         7,10,11,15,17;53:3,7;
developed (3)                35:12,13,22;38:3,6,     elements (2)                 71:1;72:1,15               55:15,23;56:24
  52:4;70:18;72:16           17,17,18,22,24;53:11;      42:11,17               estimated (5)               exercise (2)
developing (2)               67:25;68:3;70:9;71:8    eleven (1)                   5:10;53:10;64:11,17;       53:12;63:3
  26:13;28:14              done (6)                     37:18                     68:19                    Exhibit (1)
developments (2)             22:12,14;59:10;         else (2)                  estimates (4)                 17:21
  39:25;44:2                 71:20,21;75:19             31:2;44:7                 70:19;72:16,20;73:5      exhibits (2)
difference (1)             doubt (1)                 email (4)                 estimating (1)                4:13;30:14
  41:7                       32:1                       19:20;60:6;61:9;          67:18                    exist (1)
different (8)              down (3)                     74:23                  estimation (1)                51:10
  23:19;38:14;42:20;         37:18;42:25;44:9        emails (4)                   69:1                     existed (1)
  46:11;47:6;66:25;67:6,   dozens (1)                   18:13;19:18;59:3;      et (2)                        51:21
  7                          19:3                       60:2                      37:19;43:5               existence (1)
differentiate (1)          drafting (1)              embedded (1)              ethical (5)                   47:11
  26:5                       62:19                      44:25                     30:16,21;31:14;32:2,     existing (1)
difficult (2)              due (2)                   embraced (1)                 3                          51:9
  31:1;61:5                  7:18;20:8                  59:24                  ethics (3)                  exists (1)
difficulties (1)           during (3)                emergence (1)                28:23;32:2,3               53:3
  7:21                       42:1;58:20;61:8            48:6                   Etkin (18)                  expect (5)
direct (1)                 duties (3)                emergency (1)                58:13;60:17,21;61:1,       4:11,23;11:18;33:1;
  18:9                       16:15;33:13,22             44:23                     6,16,18,20;63:18,20;       43:25
direction (1)              duty (5)                  employed (3)                 65:8;71:21;72:9,11;      expected (2)
  32:11                      8:8,24;9:1;16:23;          26:3;52:6;67:10           73:7,8,9,13                42:7;47:4
directly (4)                 17:2                    employee (2)              Etkin's (2)                 expects (1)
  5:8,21;13:25;34:17                                    21:9;43:5                 59:10;61:14                28:20
Director (3)                         E               employees (2)             evaluating (1)              expenditures (2)
  21:11,25;24:17                                        33:22;61:21               67:23                      35:12;43:22
directors (1)              earl (1)                  end (1)                   evaluations (1)             expenses (1)
  33:21                      51:18                      50:18                     42:1                       35:11
disagreement (1)           earlier (3)               endeavor (1)              even (6)                    experience (2)
  4:12                       39:12;51:19;60:15          76:9                      4:18;33:2,2;45:11;         7:21;14:4
disclosure (3)             early (1)                 ended (1)                    54:18;62:18              expert (1)

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                             (4) depending - expert
     Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                      operations@escribers.net Entered: 06/01/20 16:03:12                    Page 83
                                                     of 92
PG&E CORPORATION AND                                                                                                Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                         May 29, 2020

  29:18                    fee (2)                     fines (1)                    15:8                        24:7;25:9,10;49:16,16;
expired (1)                   74:24;75:2                  45:2                    frame (3)                     50:5;57:8;76:15,22;
  52:22                    feel (3)                    finished (1)                 4:19;26:25;37:19            77:6,7,11
explain (4)                   33:16;38:23;70:25           61:14                   FRANCISCO (1)               Gotshal (5)
  34:1;41:7;42:14,16       fees (3)                    Fire (12)                    3:1                         24:16;30:8;51:5;
explained (1)                 59:4;74:5;76:14             7:18;8:8,24;9:12,18;    frankly (1)                   52:12;67:14
  23:16                    felt (2)                       15:23;17:2,22;18:3,9,     59:19                     government (2)
explaining (1)                34:10;47:3                  18;37:18                FRIDAY (1)                    54:4;55:4
  26:3                     few (4)                     fires (3)                    3:1                       Governor (1)
exposure (1)                  60:11;69:7;73:14;           35:19;47:19,19          front (5)                     39:19
  70:17                       75:22                    first (10)                   57:15;61:5,25;62:25;      Greg (1)
express (2)                fiduciary (2)                  8:6;18:4,10;23:9;         63:3                        59:1
  22:22;23:2                  33:13,22                    26:3;32:19;46:23;       frustrated (3)              Gregory (1)
expressed (1)              fifteen (8)                    50:19;56:17;62:12         20:17,20,22                 49:9
  30:2                        7:13;25:14;42:20;        five (1)                   full (2)                    guess (2)
extended (7)                  60:21;61:7,8;71:19;         12:14                     69:3;71:5                   5:18;15:3
  65:16,24;66:2,5,10;         73:19                    five-year (1)              fund (10)
  69:25;70:7               fifty (1)                      47:5                      35:15;38:5;39:5,6,7,                 H
extent (3)                    47:19                    fix (2)                      18;42:16;47:12;48:7,7
  44:15;62:19;71:23        fifty-nine (1)                 17:13,15                funded (2)                  half-a-dozen (1)
                              38:3                     fixing (1)                   37:24;67:19                 12:14
             F             fifty-some-odd (1)             17:18                   further (12)                half-an-hour (1)
                              38:17                    flow (1)                     15:10;28:17;30:23;          5:7
facing (1)                 figure (5)                     43:21                     32:12,24;33:10,11,17;     hand (3)
   32:12                      6:14;31:18;54:5;         fluid (1)                    44:9;57:5;58:9;73:7         24:11;49:11;59:8
fact (9)                      61:2;74:11                  56:6                    future (6)                  handful (1)
   12:23;18:20;20:20;      figured (1)                 focus (2)                    39:9,10;44:10;45:3,         12:13
   21:22;22:3;31:22;          56:13                       16:10;62:1                4;57:6                    happen (3)
   55:21;65:16;74:7        figuring (1)                focused (1)                                              18:25;19:3;22:20
fact-based (1)                64:11                       34:21                              G                happened (4)
   53:12                   file (2)                    focusing (1)                                             11:11,16;18:24;
factor (1)                    22:23;54:23                 43:11                   Gas (13)                      50:13
   35:13                   filed (15)                  fold (2)                      26:2,4,17;27:25;         happens (1)
factored (1)                  4:15;18:6;22:10;            42:13;43:1                 28:16;30:21;32:14;         77:5
   72:14                      26:23;55:21;56:7;        folks (1)                     34:18;35:7;38:19,25;     hard (3)
factors (4)                   65:23;66:9,17;69:22;        27:10                      41:21,25                   13:4,12;14:7
   35:8;39:8;47:6;48:1        71:24;74:5,24;75:2,6     follow (2)                 gathering (1)               harm (1)
facts (2)                  files (1)                      18:25;45:22                4:25                       15:8
   18:22;32:19                51:9                     following (1)              gave (2)                    head (2)
fair (2)                   filing (2)                     33:10                      21:20;52:3                 27:24;63:12
   36:15;42:23                6:8;26:21                follow-up (2)              generally (6)               hear (22)
fairness (2)               filings (1)                    10:18;20:4                 15:5,9;62:24;63:9,         3:8,19;5:9;6:21,22;
   45:19;48:10                60:13                    forecast (5)                  23;64:3                    7:3,4,5,9;11:1,2,13;
falsifications (1)         Final (5)                      27:1;39:15;44:22,25;    generate (1)                  18:7;23:15;25:11;35:1;
   32:7                       47:14,15,15,15;77:9         47:5                       51:12                      49:21,21;50:16;58:18,
familiar (13)              financial (41)              forecasting (1)            gets (1)                      19;61:13
   29:21;50:8;62:15,22,       26:11,23;27:1,12;           26:12                      34:14                    heard (3)
   24;63:5,7,9,10,23;64:3,    28:14;29:24;32:4,11;     forget (1)                 Given (6)                     58:21;73:24;76:15
   14;66:24                   34:22;35:9;39:14;40:1;      44:16                      18:1;29:18;32:10,21;     hearing (6)
familiarity (1)               41:18;42:10,11,17,25;    forgot (1)                    34:5;54:19                 3:20;5:6;6:4;30:13;
   63:22                      43:2;44:11,21,22;           52:2                    glad (1)                      55:14;77:3
far (1)                       45:15,16;46:9,10,13,     form (9)                      11:5                     Helen (1)
   34:23                      16,17,20,24;47:1,2,25;      9:5;10:13,24;13:10,     glitch (1)                    7:22
far-right (1)                 48:13,23,25;51:2,22;        17;14:19;41:10;46:3;       50:17                    help (5)
   53:19                      59:5;64:6,6                 47:22                   goes (2)                      15:9;39:15;62:21;
father (1)                 financials (2)              forth (5)                     34:23;74:6                 70:6;72:9
   21:24                      34:3,5                      62:23;67:3;69:8;        go-forward (2)              helped (1)
feasibility (3)            financing (3)                  71:25;72:25                35:15;47:11                52:12
   29:2,23;76:14              27:4;48:5,6              forward (11)               going- (1)                  helps (1)
feasible (1)               find (1)                       28:20;33:24;39:18,         71:11                      6:14
   29:19                      61:4                        21;48:7;55:23;66:23;    Good (26)                   here's (1)
federal (1)                fine (2)                       71:12;73:4;74:15;77:3      3:7,9,10,12,13,14,17,      75:12
   50:7                       72:11;74:3               foul (1)                      18,25;4:2,7,8;7:15,15;   herself (1)

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                                   (5) expired - herself
     Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                      operations@escribers.net Entered: 06/01/20 16:03:12                       Page 84
                                                     of 92
PG&E CORPORATION AND                                                                                          Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                   May 29, 2020

  7:1                       hypothetically (1)       indicate (6)                16:10                  Kane (5)
Hi (1)                        71:8                      29:1;54:21;62:4,14;   interruptions (1)           28:22,24;30:15,16;
  49:20                                                 65:12;66:7               45:22                    31:21
high (2)                               I             indicated (4)            into (19)                 Karotkin (34)
  12:15;48:12                                           31:21;50:8;55:22;        5:8,16,21;6:20;23:7;     3:12,13;4:10,15;
highly (1)                  I’m (1)                     56:12                    24:18;28:17;33:10;       5:23;6:2,10,12,18;
  32:25                       22:15                  indicates (1)               34:2,13;37:18;42:14,     11:6;21:6,12,14,17,18;
himself (1)                 idea (1)                    44:15                    22;45:10;47:6;48:1;      29:6,10;56:22;59:16,
  75:22                       11:11                  indicating (1)              64:4;70:1,11             17,18;72:2;74:13,16,
history (1)                 identified (1)              31:20                 investment (1)              17,20,22;75:11,16;
  32:7                        74:8                   indication (1)              35:10                    76:4,8;77:7,9,11
hoc (1)                     identify (1)                14:6                  investments (2)           key (1)
  27:5                        51:20                  indications (1)             39:13;47:10              70:18
holdco (12)                 identifying (1)             4:18                  involved (4)              kind (5)
  62:9;63:5;64:1;             54:18                  individual (2)              27:6;32:2;62:18;         34:8;36:17;37:19;
  66:13;67:5,11,20;68:4,    ignored (2)                 27:14;52:8               64:16                    38:10;65:4
  7,7,12;71:14                71:25;72:6             individuals (1)          involving (1)             knew (1)
holdco's (1)                ignoring (1)                28:1                     62:8                     58:22
  69:18                       72:8                   influencer (1)           IOUs (1)                  knowing (1)
home (1)                    impact (6)                  70:18                    39:6                     14:5
  75:23                       40:1;43:10,19,20;      inform (1)               irregularity (1)          knowledge (10)
honestly (1)                  44:2;45:23                67:15                    22:20                    12:6,22;15:1,2;19:3,
  60:12                     impacts (6)              information (8)          issue (10)                  6,7,9,10;62:21
Honor (79)                    32:11;42:12,17;43:1;      12:23;14:17;52:20;       4:19;17:18;24:21;      knows (4)
  3:9,13,14,21;4:4;           48:12,15                  54:19;68:21;69:15;       47:7;54:4,6;55:16;       14:7,13;19:12;38:10
  6:25;9:5;11:2;16:1;       implement (2)               75:15,18                 56:5,20;57:2
  17:16;18:15,17;21:20;       30:1;71:11             informed (4)             issued (1)                           L
  22:9;23:11;24:15;25:7,    implications (1)            10:7,11;12:6,22          4:12
  10,22;31:10;32:15,18,       47:21                  initially (2)            issues (6)                last (9)
  20;33:18;34:7,19,22;      important (10)              26:21;27:14              30:21;55:4,15,19;         11:12;42:2;46:7;
  36:2,8;39:1;41:10;          28:19;31:23;33:11,     input (1)                   56:24;60:2                48:18,19;50:25;57:3;
  42:3;43:4,14;45:6,13;       12,17,24;35:8,14;         31:23                 items (1)                    73:19;74:24
  46:6,21;47:23;48:16;        39:11;70:15            inquire (2)                 39:11                  late (3)
  49:2,8,9,20;50:18;54:9,   impose (1)                  75:21,21                                           12:7;15:7;17:25
  16,18;55:7;56:3;57:9,       76:1                   inquiries (3)                       J              later (7)
  11;58:9,15,19;59:1;       in- (1)                     12:8,11,12                                         4:11,20;7:25;14:17;
  60:1,11,22,25;61:15,        67:13                  instrument (3)           Janet (1)                    15:16;55:20;56:20
  18;65:3,8;71:21;72:2,     inadequate (1)              52:6,17;54:14            27:22                  law (2)
  9;73:7,20,24;74:13;         54:5                   instruments (2)          Jason (1)                    31:14;33:10
  75:5;76:9,12,15,19,24;    inappropriate (1)           53:6;54:18               27:12                  laws (1)
  77:8,15                     74:9                   insurance (1)            Jim (1)                      33:16
Honorable (1)               inappropriately (1)         71:18                    26:8                   lawyers (3)
  3:6                         72:4                   intend (1)               John (2)                     23:17;32:4;59:21
honored (1)                 include (8)                 4:19                     24:14;27:22            lead (2)
  24:1                        44:20;64:6;66:11;      intended (2)             joining (2)                  21:24;61:22
hook (1)                      67:19,23;68:23;71:1,      58:1;69:17               25:8;26:1              leads (3)
  5:19                        13                     interaction (2)          Josh (2)                     28:7;46:16,17
Hopefully (1)               included (6)                28:2,24                  21:6,17                learned (1)
  4:10                        27:2;35:8;45:3;        interactions (2)         Judge (4)                    17:11
hoping (1)                    48:24;51:24;68:6          28:5,11                  7:21;11:8;32:9;33:1    leases (1)
  59:4                      includes (1)             interest (1)             judges (1)                   50:22
horizon (1)                   26:12                     21:24                    5:18                   least (4)
  39:14                     including (7)            interface (1)            judgment (1)                 4:24;5:19;34:10;
host (1)                      19:13;23:17;27:8;         69:5                     72:22                     56:23
  27:21                       28:8,9;39:19;57:23     interject (1)            Julian (3)                leave (2)
hours (1)                   income (2)                  74:13                    4:7,8;24:25               9:9;45:18
  5:24                        64:11,17               interpose (2)            Julie (1)                 leeway (1)
house (1)                   incorrect (1)               42:19;65:2               28:22                     21:20
  67:14                       72:23                  interrupt (2)            Justice (1)               left (1)
hundred (1)                 increase (2)                38:8;54:2                50:6                      53:1
  56:19                       46:15,17               interrupted (1)                                    legal (17)
hundreds (1)                increased (1)               76:4                             K                 15:19;16:4,5,25;
  71:7                        42:13                  interruption (1)                                      17:9;27:22,23;31:3;

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                                    (6) Hi - legal
      Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                       operations@escribers.net Entered: 06/01/20 16:03:12                Page 85
                                                      of 92
PG&E CORPORATION AND                                                                                            Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                     May 29, 2020

   33:10;51:4,24;52:12,       61:4,4                48:6                         58:2                      42:1;56:13,18,19;
   13;55:16;67:13;70:16,   look (5)                Mary (1)                    methodologies (4)           57:12;59:12;61:5
   20                         36:16;46:10;51:16;    7:16                         67:2,3,6,8               morn (1)
legitimate (1)                74:4;77:3            material (4)                methodology (1)             49:16
   15:17                   looked (5)               40:1;41:16,18,21             67:10                    morning (19)
lender/agent (1)              43:18;46:13;48:15;   materialize (1)             metric (1)                  3:7,9,10,12,13,14,17,
   27:5                       70:14;75:10           72:17                        64:20                     18;4:1,2,7,8;5:1;7:15,
lenders (1)                looking (2)             materially (1)              Mexico (1)                  16;21:1;24:7;25:9,10
   74:24                      7:8;29:4              45:16                        61:22                    most (3)
length (1)                 lost (3)                materials (10)              microphone (1)              54:20;60:22;75:24
   53:18                      7:17;10:25;63:18      9:2;12:18;13:1,2,4,          49:18                    motion (1)
lengthy (1)                lot (2)                  12;14:23;16:17;20:20;      might (9)                   5:4
   55:1                       45:10;47:6            27:1                         5:7;19:13;29:7;          motions (1)
less (1)                   lots (1)                math (2)                      36:20;42:1;72:20;         75:6
   57:25                      4:24                  53:2,12                      73:21;74:11;76:21        mountains (1)
letters (1)                low (1)                 matter (8)                  might've (1)                5:17
   75:2                       48:11                 4:23;14:10;16:5,6;           18:24                    move (10)
level (1)                                           19:8;20:2;24:4;75:3        million (7)                 5:5,7,7;23:7;24:3;
   31:22                              M            Matthew (1)                   53:11,23;57:20,22;        31:24;32:6;45:13;65:9;
levels (1)                                          50:5                         58:4;69:13;70:9           74:15
   47:17                   Magalia (1)             MAY (20)                    million-dollar (1)         Moving (3)
liabilities (2)             7:17                    3:1;5:5;7:18;12:7;           69:8                      64:25;65:8;67:1
   26:22;44:24             magnitude (1)            13:23;21:23;23:14;         millions (1)               much (10)
liability (4)               39:10                   31:6;40:20,24;41:1,4,        71:7                      6:17,17;23:13;38:21;
   44:17;45:21;71:14,      mail (7)                 8;55:4;70:2,12,17;         mind (1)                    43:9;60:9,9,20;61:4;
   16                       14:4,5;18:3,5,10;       72:17;74:10;76:1             72:5                      76:12
liable (1)                  19:23;20:3             maybe (9)                   minute (1)                 muted (1)
   71:17                   mailed (4)               4:14,18;7:12;12:5,5;         54:3                      6:23
life (1)                    16:6,8;18:4,10          20:21;34:11;61:8;          minutes (13)               myself (2)
   41:18                   mailing (3)              75:16                        7:12,19;19:12;25:14;      26:8;46:9
likely (1)                  20:8,10,11             mean (15)                     34:22;56:12;60:11,22;
   32:24                   majority (3)             6:4,13,16;16:9;              61:7,9;69:7;71:19;                  N
line (4)                    38:7;51:24;52:8         21:20;31:5;32:1,13;          73:19
   8:6,18;9:24;29:1        makes (1)                35:20;37:2,3;41:15;        mistake (1)                name (4)
lines (3)                   74:9                    45:10;59:22;71:13            17:11                      7:16;24:12;27:15,18
   16:19;27:7;30:15        making (7)              meaning (1)                 mitigate (2)               nature (4)
liquidated (5)              4:17;16:2;39:13;        10:15                        39:15;47:9                 63:23;64:3;67:14;
   69:23;70:2;71:24;        45:21;47:11;51:3;      meant (1)                   mitigated (3)                70:14
   72:13,14                 76:25                   31:19                        47:7,8,9                 nearly (1)
liquidity (2)              manage (1)              media (1)                   mitigation (12)              66:8
   26:12;27:3               26:11                   32:25                        28:12,13,15,19;34:2,     necessarily (3)
list (3)                   management (8)          medium (1)                    18;35:7,10;39:12,17;       16:9;18:23;41:15
   17:21;50:21;53:3         26:12,13;27:4,9,10,     48:12                        41:23;47:10              necessary (3)
listed (5)                  13,22;28:2             meet (4)                    mobilization (1)             71:1;72:19;75:20
   54:11,24;55:2;70:2,8    managing (1)             30:11;40:2;41:17;            41:22                    need (12)
listen (1)                  24:17                   71:11                      moderate (3)                 14:2;25:4;32:24;
   24:2                    manner (3)              meeting (1)                   28:25;29:1;31:21           36:11;49:16;54:2;57:5;
listening (1)               33:13,23;67:9           77:14                      moment (4)                   60:10,11,20,21;77:10
   55:18                   manslaughter (1)        meetings (1)                  4:10;11:8;43:8;49:8      needs (1)
litigant (1)                32:8                    28:7                       Monday (8)                   56:2
   7:17                    many (19)               members (1)                   4:14,20,22;6:12;         net (2)
litigation (2)              10:7,22;11:22,25;       27:8                         23:21;26:6;36:21;77:4      64:11,17
   61:23;62:8               12:3,12,20;15:23;18:2; memory (3)                  Montali (2)                New (1)
little (4)                  26:11;30:7;52:9,16;     38:2;53:3;62:25              3:6;11:9                   61:22
   3:23;7:19;54:19;         56:21,21;59:6;66:12,   mentioned (2)               months (1)                 news (1)
   71:19                    14,17                   39:12;57:18                  62:7                       76:22
locate (1)                 March (3)               merit (1)                   mood (1)                   newspaper (1)
   32:8                     14:23;26:24;30:13       70:24                        25:19                      38:10
lodge (1)                  Mari (2)                message (1)                 more (22)                  next (14)
   73:25                    27:15,19                49:9                         5:7,11,12;10:19;           5:8,9;9:23;16:12;
Loduca (1)                 mark (1)                Mesterharm (1)                16:3;19:11;20:18;21:3;     22:15,16;24:16;25:4;
   27:22                    32:8                    26:8                         22:21;31:5;34:14;          36:20,21;47:4,18;49:6;
long (2)                   markets (1)             method (1)                    36:19,20;38:19;39:23;      77:4

Min-U-Script®                                      eScribers, LLC | (973) 406-2250                             (7) legitimate - next
     Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                      operations@escribers.net Entered: 06/01/20 16:03:12                   Page 86
                                                     of 92
PG&E CORPORATION AND                                                                                           Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                    May 29, 2020

Nick (1)                    54:10,12,23;58:25;        23:18;33:22,23;                                      57:22,24
  27:14                     59:9;64:21;65:2,7;        35:11                               P              penalties (4)
nobody (1)                  74:2,4,7,9              operations (4)                                         45:2,4,7,12
  47:8                   objections (5)               27:25,25;41:15;48:7      Pacific (12)              penalty (1)
nondebtor (2)               6:3,9;24:23;54:3;       opinion (7)                  26:2,4,17;28:16;          22:6
  54:15,22                  56:21                     29:18,23;30:2;33:6,        30:21;32:13;34:18;      pendency (1)
none (2)                 objective (1)                20;39:3;46:2               35:7;38:19,25;41:21,      62:8
  39:8;72:13                47:1                    opinions (1)                 25                      pending (2)
nonexecutory (1)         obligation (2)               16:4                     package (8)                 6:9;61:22
  52:25                     31:13;71:4              opposed (1)                  12:7,16,24;13:23,24,    people (12)
nonfunded (3)            obligations (6)              70:10                      25;19:19;22:7             10:9,22;11:23;12:8,
  57:21;67:25;68:23         31:14;40:2;41:17;       oral (1)                   packages (14)               14,14,16,19;19:3,6;
nonlawyers (1)              71:3,11;72:24             5:9                        8:9,25;9:3,13,16,17;      20:22;27:21
  52:14                  obvious (2)                order (13)                   12:9,20;18:2,4,9,19;    per (1)
nonwildfire (3)             20:16,19                  3:3;4:12,14,19;5:15;       19:21;20:13               7:16
  57:21;67:25;68:23      obviously (1)                9:2,20;14:22;16:6;       packet (1)                percent (2)
normal (1)                  61:1                      24:21;33:13;66:2;          8:11                      9:12;46:17
  5:20                   occur (1)                    67:15                    page (13)                 perfectly (1)
normalcy (1)                47:18                   orders (4)                   8:6,17,18;9:23;           53:2
  44:1                   occurred (1)                 15:14;16:15,23;17:6        16:19;27:7;29:1,4,12;   performance (2)
normalized (2)              45:2                    ordinary (1)                 30:15;39:24;40:8,11       45:24;47:4
  64:10,17               occurrence (1)               37:25                    pages (3)                 performing (1)
Northern (1)                39:15                   organization (1)             23:13;53:20,21            20:8
  3:5                    o'clock (1)                  26:17                    paid (2)                  perhaps (5)
notes (1)                   77:4                    original (1)                 35:18;69:2                4:24;14:9;20:22;
  25:13                  October (1)                  13:6                     Parada (13)                 29:6;48:11
notice (1)                  65:13                   originally (4)               3:7,20;6:19,21,23;      period (3)
  37:17                  off (6)                      50:25;51:21,22;            10:25;23:7;24:8;25:5;     41:19;42:2;47:5
notify (3)                  5:19;23:1;31:12;          60:18                      49:7;58:13;73:12;       perjury (1)
  19:17;20:7,7              32:19;55:19;63:12       otherwise (1)                77:13                     22:6
November (1)             Office (1)                   16:11                    paragraph (17)            permit (1)
  62:5                      59:2                    ought (1)                    9:24;29:7,9,9;40:7,       7:11
number (26)              officer (4)                  67:16                      12,13;57:17;62:3,14;    person (3)
  8:17;9:24,24;17:23;       26:9,10;27:12;28:23     out (33)                     65:9;66:7;67:1,4,17;      21:23;27:17;31:4
  26:20;35:11;36:7,10;   officers (1)                 6:14;9:15;12:18;           68:1;69:8               personal (1)
  37:7,13;38:2,11,16;       33:21                     13:2;14:17,22;16:7,8;    part (8)                    41:6
  39:8,18;52:22,23;53:4, old-fashioned (1)            17:6;19:21,23;20:3,10;     27:13;28:1,4;30:16;     personnel (3)
  16,20;55:2;57:24;         5:14                      24:3;26:3,20;31:18;        31:11;64:9;66:10;         41:6,22;43:1
  66:16,20,23,25         once (2)                     35:19;40:10;43:24;         70:24                   perspective (1)
numbers (5)                 5:9;65:14                 53:1;57:25;61:2,10,12;   participate (3)             20:12
  29:7;36:12,17;52:19;   one (20)                     64:11;68:18;71:7;          35:15;39:6,7            persuade (1)
  66:19                     4:21;11:8;24:20;          72:22;74:12;75:17;       participated (1)            76:6
numerous (1)                27:11;30:14;31:18;        76:6,10                    24:5                    persuaded (2)
  48:1                      41:24;42:22;49:8;       outlook (1)                particular (5)              76:4,5
                            53:14;54:14;55:16;        45:16                      15:10;27:6;35:18;       petition (1)
           O               57:24;58:2;64:19;67:9,   outset (1)                   44:2;54:11                62:7
                            24;68:3;69:23;75:23       62:10                    particularly (3)          PG&E (28)
oath (1)                 one-billion-dollar (2)     outside (2)                  29:24;65:12;70:15         4:22;16:24;18:12;
  7:10                      68:18,22                  68:25;74:8               particulars (1)             21:15,24;27:1;30:5;
obje (1)                 only (13)                  over (8)                     43:11                     32:7,9,11;33:10,12,17,
  54:23                     6:14,17,17,25;11:23;      7:18,19;39:14;41:18;     parties (3)                 21,24;37:1;39:11,16;
object (7)                  12:18;16:23;20:18;        47:4,4;52:22;53:20         39:19;53:15;64:13         44:16;46:20;51:4,16,
  30:14;34:19;43:4;         48:6;56:12;60:11;       overall (1)                passed (1)                  21,24;52:12;62:9;
  45:6;47:22;48:16;72:2     73:14;74:7                26:10                      65:14                     67:14;71:17
objecting (2)            oOo- (1)                   overrule (3)               past (2)                  PG&E's (4)
  18:17;54:23               3:2                       39:2;43:7;65:7             45:2;71:19                34:2,4;40:20;51:9
Objection (38)           opening (2)                oversight (1)              Pause (1)                 phase (2)
  9:5;10:13,24;13:10,       4:17;5:25                 30:17                      58:16                     5:8;22:14
  17;14:19;16:1;17:16; operate (1)                  owed (1)                   pay (2)                   pieces (2)
  18:15;22:9;32:15,16,      28:20                     53:15                      37:1;71:4                 34:14;37:18
  22;33:18;34:7,12;36:8, operates (1)               own (3)                    payment (1)               placed (2)
  9;39:1;41:10;42:3,19;     28:20                     11:11;40:14;76:7           53:10                     53:7;66:21
  43:8;45:9;46:21;49:14; operating (4)                                         payments (2)              plaintiff (1)

Min-U-Script®                                 eScribers, LLC | (973) 406-2250                                  (8) Nick - plaintiff
     Case: 19-30088         Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                    operations@escribers.net Entered: 06/01/20 16:03:12                    Page 87
                                                   of 92
PG&E CORPORATION AND                                                                                            Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                     May 29, 2020

  61:22                      42:1,13;44:10,10,11,   proceeded (1)                44:2                     rationable (1)
plan (70)                    19;45:12,21,22;46:1      51:7                     PSPS (5)                     29:25
  5:6;12:24;14:16;         practical (2)            proceedings (1)              44:18,24,25;45:4,8       rational (2)
  15:23,25;16:18;22:7;       14:23;16:5               77:17                    Public (1)                   29:25;47:3
  26:13;28:10,12,13,19,    precisely (4)            proceeds (1)                 61:21                    reaction (1)
  22;29:2,19,21,23;30:2,     34:20;38:1;51:16;        71:18                    publicized (1)               37:12
  8,10,10,12,17;31:23;       62:13                  process (15)                 32:25                    read (1)
  34:2,17;35:6,10,14,23;   predicate (1)              30:9,17;48:5;50:25;      publicly (1)                 40:21
  36:5;37:2,6;38:21;         32:19                    51:2,10,20,23;55:22;       70:23                    reading (1)
  39:13;40:3;41:17;43:2;   predict (1)                56:4,9;65:22,22;66:5;    pull (2)                     54:12
  44:12;45:24;46:2,3;        48:8                     70:25                      40:10;53:17              reads (1)
  47:10,16;48:5,7,15;      prepare (4)              processes (1)              Pullo (29)                   38:10
  50:9,20;52:3;53:4;         6:14;23:12;50:20,24      52:5                       3:25;4:2;7:6,7,16;       real (1)
  62:15,19,21,23,25;       prepared (4)             produce (1)                  8:13,21;10:2;11:16;        75:23
  63:3,6,11,15;64:2,13;      46:25;48:23;51:1,9       51:17                      13:11;14:7,11,12,20;     really (6)
  67:19;68:14,20;69:2;     preparing (2)            produced (1)                 15:9,17,18;16:11;17:1,     5:12;38:9;56:1,12;
  71:3,11;73:1,3             4:25;51:21               26:25                      4,17;19:8;20:24;21:4;      75:20;76:16
plans (1)                  pre-petition (1)         producing (1)                22:4,15,25;23:3,5        reason (7)
  26:18                      53:15                    27:3                     punishment (1)               20:9;44:25;57:24;
please (11)                present (1)              products (1)                 5:21                       66:24;69:23;76:13,16
  3:12;4:5;7:13;8:22;        47:2                     26:20                    purchase (3)               reasonable (8)
  24:9,11,12;35:2;38:23;   president (2)            progress (1)                 65:17;70:1,8               12:6,22;21:23;29:25,
  42:14,16                   28:6,23                  73:18                    purpose (1)                  25;47:3;69:16;71:1
pleasure (1)               presiding (1)            project (1)                  54:7                     reasonably (1)
  76:23                      3:6                      43:24                    purposes (2)                 14:23
point (6)                  pressure (1)             projection (4)               68:8;72:8                reasons (1)
  19:6;36:15;43:25;          56:21                    41:19;46:16,18;          pursue (1)                   47:8
  55:13;56:1;57:2          presume (2)                48:23                      18:22                    recalcitrant (1)
points (1)                   24:6;70:20             projections (17)           put (7)                      32:10
  30:2                     pretty (2)                 28:14;29:24;34:23;         34:21;42:20;47:25;       recall (12)
policy (1)                   23:13;74:18              35:9;40:2;41:18;42:10,     55:19;62:21;66:23;         25:15;37:17;53:11,
  44:15                    previously (2)             12;43:2;47:1,2;48:25;      76:7                       18;62:13;63:4,12,14,
politely (1)                 7:9,14                   59:5;64:6,6,7,9          putting (4)                  16,25;66:3,16
  76:5                     primary (1)              proof (7)                    30:9;55:23;63:3;         receipt (1)
portion (1)                  69:4                     13:6;18:25;19:2,19;        64:16                      14:6
  68:3                     Prime (10)                 66:2;70:6,6                                         receive (14)
position (7)                 9:1;10:7;16:16,23;     proofs (2)                            Q                 8:9,25;9:3,16;10:12,
  19:12,14;23:12;            18:12;19:17,18,21;       66:8;70:3                                             22;11:21,22;12:19,24;
  27:17;58:23;59:22;         21:8,9                 proper (1)                 qualified (2)                13:5;18:19;19:7,18
  72:24                    principal (1)              22:22                      51:5;52:11               received (29)
positions (1)                27:11                  properly (1)               qualifies (1)                9:13,21;10:8,9,15;
  22:23                    Principally (1)            17:6                       51:25                      12:2,8,9,11,12,16,20;
position's (1)               67:13                  property (1)               quantifiable (1)             13:1,7,16,18,23,24,25;
  57:7                     prior (10)                 7:17                       43:20                      14:5,7;15:2,23;16:9;
possibility (1)              28:1;43:16;45:7,12;    proportion (1)             questioner (3)               18:14;19:4;20:13;22:7;
  45:3                       51:10;55:14;58:20;       17:25                      23:9;25:5;49:6             49:9
possible (2)                 62:7;65:23;66:5        proposing (1)              quick (2)                  receiving (3)
  17:13;66:4               pro (1)                    56:5                       47:13;64:5                 12:7;15:12;18:13
possibly (3)                 7:16                   protected (1)              quite (3)                  Recent (1)
  4:11;14:8;21:23          probably (5)               57:7                       52:9;56:8;76:9             39:25
post- (1)                    4:13;12:2;34:24;       protective (1)             quote (1)                  recently (2)
  48:5                       56:3;61:10               75:18                      54:25                      43:19;75:2
post-confirmation (2)      problem (1)              provide (3)                                           recite (1)
  56:24;57:6                 54:17                    44:22;72:19;75:17                   R                 53:10
post-emergence (1)         problematic (1)          provided (2)                                          recognized (1)
  73:3                       42:1                     26:17;73:5               raise (2)                    34:22
potential (3)              problems (1)             providing (1)                24:11;55:4               recollection (4)
  39:20;46:17;48:1           33:11                    29:22                    raised (1)                   7:12;37:21;38:1;
potentially (1)            procedures (5)           provision (1)                49:11                      63:24
  39:19                      9:2,20;10:1;13:3;        68:6                     range (1)                  record (3)
Powell (4)                   14:16                  provisions (2)               38:2                       24:13;66:21;74:2
  28:5,8,9,11              proceed (4)                17:7;62:15               rather (1)                 records (1)
Power (10)                   7:13;24:5,24;33:14     PS (1)                       63:2                       53:13

Min-U-Script®                                   eScribers, LLC | (973) 406-2250                                  (9) plan - records
     Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                      operations@escribers.net Entered: 06/01/20 16:03:12                   Page 88
                                                     of 92
PG&E CORPORATION AND                                                                                             Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                      May 29, 2020

recycling (1)               4:16;5:3;11:18;          respect (10)                   68:13;69:13;77:12        70:1,8
  5:22                      35:22                       29:22,23;50:19;          ring (1)                 Sedwick (1)
redirect (4)              remind (1)                    69:12;70:7,11,22;           66:20                    7:22
  60:24;76:20,22,24         25:6                        72:14,25;75:1            risk (3)                 seems (2)
reduce (1)                reminder (1)               respectful (1)                 34:4;45:4;47:9           31:23;55:18
  34:4                      4:21                        7:20                     risks (4)                send (8)
reemailed (1)             reorganization (15)        response (1)                   46:10,13,16,19           5:21;9:2;13:4,9;
  73:20                     28:10,22;30:8,23;           44:23                    robust (2)                  14:22;20:3;60:2,5
refer (2)                   32:12,24;34:17;35:6;     responsibilities (3)           39:12;47:10           sends (1)
  18:24;46:24               37:6;38:21;43:3;44:12;      26:10,21;30:16           room (2)                    19:23
reference (5)               47:17;48:5,15            responsibility (4)             6:20;23:8             senior (6)
  8:6;10:2;16:15;         reorganizations (1)           8:8,24;27:3;29:22        Rule (1)                    27:9,9,13,21;28:1,22
  37:20;52:2                30:18                    responsible (2)                44:15                 sense (3)
referencing (1)           repeat (2)                    33:12,23                                             26:16;32:21;64:19
  9:23                      8:22;16:8                responsibly (1)                          S           sent (14)
referred (2)              repeatedly (1)                44:16                                                9:15;12:18;13:2,12,
  29:6;64:10                12:23                    responsive (1)              safe (1)                    14;14:8,10,11,17;18:3;
referring (6)             rephrase (4)                  4:15                       33:23                     19:18;59:3;60:7;74:23
  8:10,12;40:7,8;           13:20;33:3,4;34:13       rest (4)                    Safety (2)               separately (1)
  46:25;66:13             replacement (5)               43:9,9;61:3;76:7           28:6,8                    68:14
reflected (3)               10:9,16;11:17,23,25      restart (1)                 same (8)                 series (2)
  9:21;13:3,13            report (1)                    70:4                       17:2;19:25;23:21;         9:23;27:5
regarding (13)              41:8                     restate (5)                   48:17;67:8;72:6,8;76:8 seriously (1)
  4:12;5:4;8:7,18;        reporting (1)                 11:18;18:22;27:16;       SAN (1)                     31:16
  26:2;28:5,9,21;31:23;     26:15                       35:3;43:12                 3:1                    service (8)
  33:9;45:4;47:21;64:5    reports (3)                restructuring (9)           sat (1)                     9:15;13:4,13,16,19;
regardless (1)              26:18;27:3,5                26:7,9,9;28:18;            61:3                      16:17;18:5,11
  72:20                   represent (1)                 33:11,17;34:6;35:18;     satisfied (1)            session (3)
regards (1)                 61:21                       37:1                       37:24                     3:5;5:1;77:4
  9:25                    representation (1)         result (2)                  satisfy (1)              set (6)
regular (1)                 47:3                        39:16;41:5                 72:24                     47:1;62:23;67:3;
  28:2                    representing (1)           RESUMED (1)                 saying (3)                  69:8;71:25;72:25
regulatory (1)              50:7                        8:4                        9:15;12:11;29:20       settlement (2)
  45:5                    request (6)                retained (1)                scenario (3)                35:17,22
reject (1)                  5:4,10;6:25;7:6;            26:7                       47:25;48:14,14         several (1)
  16:18                     23:25;58:22              retention (4)               scenarios (1)               19:18
relate (4)                requested (3)                 15:14;16:15,23;17:6        46:11                  share (1)
  57:20,21,23;74:5          7:12;12:23;13:1          Retirement (1)              schedule (25)               53:18
related (5)               requesting (1)                61:21                      6:8;50:20,21,24;       shelter (1)
  20:12;39:24;40:20;        10:9                     return (1)                    51:1,8,9,13,15,17,22;     75:23
  53:13;54:7              requests (6)                  14:6                       52:2,3,18,20;53:7,17, ship (1)
relating (2)                10:9,16;11:17,23,25;     review (8)                    19,20,22;54:11,13,19;     19:21
  67:6;70:7                 58:14                       22:8;51:11;65:22,23;       56:7,16                short (3)
relationship (3)          required (3)                  66:5,10,18;70:12         scheduled (1)               47:13;61:4;74:17
  21:8,14;40:24             14:17,22;67:18           reviewed (7)                  4:21                   shutoff (1)
relative (1)              requirements (4)              51:24;52:8;66:3,8,8,     schedules (3)               45:22
  70:19                     26:15,15;29:21;             15;67:9                    23:18;26:22,22         Shutoffs (8)
relevance (1)               30:11                    reviewing (2)               scope (3)                   42:1;44:10,10,11,19;
  31:3                    rescission (4)                51:3;69:24                 34:20;42:6;74:8           45:12,21;46:1
relevant (6)                64:1;66:1,4;68:11        rhetorical (1)              screen (3)               shut-offs (1)
  21:21,22;23:4;38:9,     reserve (3)                   16:3                       7:7;58:17;61:17           42:13
  11;76:13                  23:14,23;72:7            Richard (1)                 seal (4)                 side (4)
reliance (1)              reserved (1)                  24:15                      74:24;75:2,6,15           27:22,23;58:25;
  38:24                     45:20                    right (44)                  second (5)                  75:12
reliant (1)               reserving (1)                 3:10,16;6:1,19,21;         4:14;27:17;32:20;      signed (1)
  38:22                     5:25                        7:2;8:20;11:10,15;         35:13;73:25               4:16
remain (2)                resolution (1)                17:23;19:2;22:2;23:12,   Secondarily (1)          significance (1)
  28:17;38:25               71:16                       14,19;24:11;25:1,3,6,      39:17                     31:3
remaining (1)             resolving (1)                 15,20;31:8,10,20;33:7;   Section (8)              significant (2)
  16:11                     56:9                        36:3;40:12;42:21;44:5;     29:2,17,19;30:6,7,        35:9;39:13
remedy (2)                resources (5)                 45:9;49:7,23,25;53:4;      12;40:6;64:5           significantly (1)
  17:13,15                  30:1;48:4;71:10;            55:4;57:15;58:6;61:16;   securities (6)              45:23
remember (4)                73:2,4                      62:19;64:7;67:22;          61:23,24;62:8;65:18; similarly (1)

Min-U-Script®                                  eScribers, LLC | (973) 406-2250                             (10) recycling - similarly
     Case: 19-30088          Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                     operations@escribers.net Entered: 06/01/20 16:03:12                     Page 89
                                                    of 92
PG&E CORPORATION AND                                                                                               Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                        May 29, 2020

   42:15                       60:24                      15:13                    sworn (5)                 thought (6)
Simon (1)                   specialists (1)            strictly (2)                  7:9,14;23:8;24:10;         25:16;40:22;45:15;
   27:22                       32:3                       15:13,24                   61:17                      55:13,24;59:22
simple (1)                  specific (12)              structured (1)                                        thoughts (1)
   42:20                       5:11;34:15;36:19;          34:3                                  T               4:25
sitting (1)                    39:24;40:3;54:4,10;     studied (1)                                           three (6)
   61:4                        60:5,12;66:16,19;          54:3                     table (1)                    22:21;34:11;39:23;
situation (4)                  72:20                   stuff (1)                      6:8                       59:21;74:24;75:2
   15:11;48:2;56:6;         specifically (13)             75:11                    tabulate (1)              throughout (1)
   74:11                       10:19;16:15;30:19,      subcontractor (2)              9:21                      39:14
sixty- (1)                     20;31:6;34:3;35:6;         19:24;20:2               tabulation (3)            thus (1)
   46:16                       48:11;62:10;63:16,25;   subcontractors (1)             8:7,19;16:18              53:7
size (2)                       66:13;69:20                19:22                    talk (2)                  tight (1)
   18:1;53:18               speculate (2)              subject (5)                    31:1;67:2                 23:18
SLACK (49)                     12:19;13:5                 39:8;44:17;66:2;         talking (4)               times (4)
   3:14,15;9:5;10:13,       speculating (2)               74:6;75:3                   55:20;59:20;68:9,11       5:10;19:18;22:21;
   24;11:7;13:10,17;           12:2,15                 subordinated (16)           Tariff (1)                   52:16
   14:19;16:1;17:16;        speculation (1)               63:6,17,21;66:13,14;        44:15                  timing (3)
   18:15,16,17;21:20;          42:4                       67:5,11,12,20,21;68:4,   TCC (2)                      4:17;6:4;66:3
   22:9;24:15,15;32:15,     squeeze (1)                   5,12;69:18,18;71:15         4:12;64:12             title (1)
   18;33:18;34:7,19;36:8,      56:20                   subrogation (1)             team (19)                    21:10
   10,14;37:2;39:1;41:10;   staff (3)                     37:18                       27:22;28:2,7;50:20,    today (7)
   42:3;43:4;45:6;46:21;       5:12,16;14:11           substance (1)                  20,24;51:8,11,13,15,      4:11;8:15;15:16;
   47:22;48:16;59:13,22;    stages (2)                    67:14                       23;52:6,16;53:9;57:19;    24:2;25:1;56:11;76:14
   60:23,25;64:21;65:1,1,      26:24;55:2              substantial (2)                65:13;66:8,18;67:18    together (4)
   3,6;73:24;74:2,4;        start (3)                     56:10,10                 technical (1)                30:10;47:25;62:21;
   76:18,24                    5:1,6;26:3              substantially (1)              7:21                      64:16
slightly (1)                started (3)                   47:9                     Ted (2)                   told (3)
   5:5                         50:25;52:20;66:5        substantive (1)                54:16;55:7                5:23;58:21;60:18
solicitation (13)           state (6)                     69:5                     tells (1)                 tolerated (1)
   8:7,19;9:1,20,25;           24:12;27:8;32:17;       successful (1)                 5:17                      5:13
   13:3;14:16,22;15:14,        44:1,14;46:1               33:24                    ten (5)                   tomorrow (2)
   25;16:17;18:4,9          stated (6)                 sufficient (7)                 7:12,19;12:4;56:12;       4:11;45:25
somebody (4)                   13:6;31:11;38:16;          38:23,25;39:5;48:4;         70:9                   tool (1)
   14:3;16:9;31:2;61:9         44:4;45:1;70:23            68:21;69:15;73:2         tens (1)                     39:20
someone (2)                 statement (18)             suggest (1)                    35:22                  top (1)
   14:11;20:3                  4:15;27:2;29:20;           66:25                    terminology (1)              63:12
somewhat (2)                   37:22;39:4,25;40:20,    suggested (1)                  44:17                  total (7)
   43:20;56:6                  21,25;41:2,5,8;48:24;      55:23                    terms (21)                   35:17,21;36:25;37:7,
somewhere (1)                  51:2,22;55:17,21;71:9   suggesting (1)                 32:7,10;33:5,5;           13,23;53:20
   38:2                     statements (4)                55:25                       42:10;43:2;46:14;      Totally (2)
son (2)                        26:21,23;32:25;71:6     summer (4)                     47:20;48:12,13,14;        35:25;36:2
   21:17,25                 states (7)                    38:20;46:16;47:18,          62:15;64:11;65:22;     treasurer (2)
soon (3)                       41:5;50:6;54:10,14,        18                          67:2;69:13,24,24;71:3,    27:13,20
   14:23;17:13;38:20           17,21,24                Sunday (1)                     4,25                   treasurer's (1)
sooner (1)                  stating (2)                   4:14                     testified (4)                27:17
   6:16                        12:8,11                 supplement (4)                 62:18;67:20;69:7,10    treat (1)
Sorry (18)                  stay (3)                      50:9,21;52:3;53:4        testify (1)                  72:7
   10:4;11:10;13:20;           24:1,25;77:4            support (3)                    36:14                  treatment (4)
   18:7;29:15;30:20;        stay-at-home (1)              38:19;39:20;42:16        testifying (3)               35:21;63:10,12,24
   33:15;40:10,10;50:13;       5:15                    supposed (3)                   38:11;69:17;77:1       trial (1)
   55:7,14;59:14;63:20;     Stephen (3)                   15:18;16:3;48:18         testimony (9)                50:5
   64:22,24;65:25;74:20        21:12,14,17             sure (14)                      23:4,15;24:2;38:9;     trials (2)
sort (5)                    stick (1)                     8:8,24;25:13;29:4,9;        45:23;46:2;58:20;         61:4,4
   14:6;39:4;43:22;            14:12                      30:24;31:14;36:10,18;       59:19;68:18            tried (1)
   55:16;75:18              still (5)                     44:13;46:24;56:8;59:1;   that'll (1)                  72:16
sound (1)                      27:13;56:8;61:25;          70:4                        24:1                   triggers (1)
   17:23                       72:23,24                sustain (3)                 thereafter (1)               37:10
sounds (2)                  stock (2)                     32:22;42:19;45:9            14:24                  Troy (25)
   17:24,24                    64:11,12                sustained (3)               thirty (1)                   49:7,15,16,18,20,22,
sources (1)                 stream (1)                    22:10;34:13;42:5            12:4                      24;50:2,4,5,16,17;
   37:22                       27:6                    swear (1)                   Thomas (1)                   53:25;54:2,9,17;55:25;
speak (1)                   strict (1)                    24:8                        77:13                     56:3,16;57:9,11,13;

Min-U-Script®                                     eScribers, LLC | (973) 406-2250                                   (11) Simon - Troy
      Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                       operations@escribers.net Entered: 06/01/20 16:03:12                      Page 90
                                                      of 92
PG&E CORPORATION AND                                                                                                Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                                         May 29, 2020

  58:9,11;60:19             understood (1)               9:21                      4:3;6:20,20,21,22;         within (3)
Trustee (5)                   53:5                    values (1)                   7:2,3,4,5,15,16;8:1,3,5,     42:5;51:21;59:24
  26:15;49:12;74:5;         undoubtedly (1)              64:11                     17,18,23;9:8,10,11;        without (4)
  75:16,19                    20:21                   variation (1)                10:5,6,14,17,21;11:13,       30:23;32:12,12;
Trustee's (1)               unexpected (1)               47:20                     14,20;13:15,18,20,22;        62:24
  59:2                        73:16                   various (4)                  14:2,2,14,15,25;15:4,      witness (33)
try (5)                     unexpired (1)                5:10;37:18;50:7;          12,15,21,22;16:2,3,13,       4:21;7:9,14;8:14,16,
  3:22;6:12;31:9;70:6;        50:22                      60:7                      22;17:5,14,20;18:21;         22;10:3;14:21;16:12;
  76:6                      unfortunate (1)           varying (1)                  19:2,15,16;20:1,6,15,        22:16,16;24:10,16;
trying (6)                    20:23                      47:17                     18;21:2,5,22;22:5,12,        27:19;29:13;31:1,19,
  38:13,20;46:12;54:9;      uniform (1)               vast (2)                     13,19,21;23:8,11,23          19;34:10;35:2;36:21;
  55:20;61:2                  3:16                       51:24;52:8              waste (1)                      37:16,21;40:16;43:14,
Tsekerides (18)             unimpaired (1)            vendor (7)                   23:3                         17;49:10;50:15;56:11;
  3:17,18,20,22,24;           63:14                      19:23,24,25;20:1,2,     wasting (1)                    59:6;73:11,22;76:17
  24:24;25:2;54:16,16;      UNISON (2)                   7;37:25                   55:5                       witness' (1)
  55:3,7,8,10,12;59:9,12,     77:8,16                 vendors (1)                way (9)                        38:9
  15,17                     United (7)                   20:7                      14:5,8;26:25;41:24;        witnesses (2)
Tuesday (1)                   50:6;54:10,14,17,21,    verification (1)             43:16;44:3;64:19;65:5;       4:13;75:24
  4:22                        24;55:2                    15:2                      72:12                      word (1)
tuned (1)                   unknown (1)               verify (2)                 Wednesday (1)                  37:9
  77:4                        48:8                       22:6;58:14                5:1                        words (1)
turn (3)                    unless (2)                version (2)                week (2)                       65:14
  49:25;57:17;71:7            14:6;24:22                 62:23;72:25               60:15;75:8                 work (16)
turns (2)                   unliquidated (2)          versions (1)               weekend (2)                    26:2,5,5,20;27:6,10;
  57:25;72:22                 70:10,13                   13:12                     77:7,11                      28:5,21,22;29:18;30:8;
twenty (3)                  unmute (5)                versus (1)                 weekly (1)                     61:9;75:17;76:6,10,17
  12:4;25:18;60:21            6:21,24;7:1;49:17,18       47:19                     27:3                       worked (1)
twenty-five (1)             unmuting (1)              via (2)                    Weil (7)                       27:10
  25:16                       6:24                       18:3,10                   24:15;30:8;51:4;           working (2)
twenty-one (5)              up (13)                   viable (2)                   52:12;60:8;62:20;            27:12;65:13
  38:6,17,18,22,24            43:19;47:7;51:12;          28:17;38:25               67:14                      workplace (1)
twenty-percent (1)            53:17,22;54:4;56:2,7;   vice (2)                   welcome (3)                    41:6
  46:15                       61:16;67:18,24;69:1;       28:5,23                   10:19;15:8;32:23           works (1)
two (12)                      72:1                    victim (3)                 well- (1)                      53:2
  21:3;34:11;35:8;          update (1)                   9:12,18;18:9              15:5                       worry (1)
  39:11;41:14;47:19;          6:8                     victims (10)               Wells (1)                      7:25
  56:13,17;57:11;68:19;     upon (4)                     8:8,25;17:2,22;18:3,      27:12                      worst (1)
  74:24;75:25                 38:22;67:20;69:25;         13,18;35:19,21;37:19    weren't (1)                    48:13
two-and-a-half (1)            76:1                    video (2)                    24:4                       writing (2)
  5:24                      upset (1)                    7:8;10:25               what's (10)                    13:7;56:23
types (3)                     20:22                   view (3)                     10:4;11:4;16:2;36:9;       wrong (1)
  46:11;67:7;69:21          upwards (1)                  23:21;57:2;75:11          39:11;53:1;54:7;55:6;        75:1
typical (1)                   35:12                   views (1)                    64:10;76:23
  17:25                     use (1)                      23:1                    whenever (1)                            Y
                              19:22                   virtual (2)                  5:20
           U                used (2)                     49:5;76:2               Whereupon (1)                year (4)
                              20:3;58:3               volume (2)                   77:17                        39:14,14;42:2;50:25
ultimate (2)                uses (2)                     18:13;39:9              whole (2)                    years (1)
  46:5;71:14                  37:22,23                vote (4)                     27:21;39:8                   5:14
ultimately (1)              USPS (1)                     9:18,22;15:7;22:8       Wildfire (30)                yesterday (7)
  56:3                        18:3                    votes (6)                    28:6,8,12,13,15,19;          4:15;23:17;32:9,25;
un (1)                      usually (1)                  8:7,7,19,19;16:18;        34:1,5,18;35:7,10,15,        55:21;56:7,23
  12:15                       32:2                       20:23                     15;37:25;38:5;39:5,12,
uncertainties (1)           utilities (4)             voting (16)                  17,18,20;41:22;42:13,                 Z
  69:21                       27:24;38:6,7;39:20         9:14;12:7,9,10,13,17,     15;46:15,17;47:9,10,
under (27)                  utility (10)                 21,24,24;13:23;15:24;     12,21;48:12                zero (4)
  22:6;23:18;30:12;           62:9;63:17,21;66:14;       19:19;20:13;22:7,8,20   wildfires (7)                  55:2;68:19;70:21;
  31:14;35:16,23;36:4,        67:11,21;68:5,12;                                    38:20;39:9,10,15;            72:7
  22;37:2,6;40:3;41:17;       69:18;71:14                       W                  46:14,20;47:18             Ziman (3)
  46:3;63:6,11,14;64:2,                                                          willing (1)                    23:22,24;26:5
  13;67:19;68:14,20;                   V              wait (3)                     56:23                      Ziman's (2)
  69:2;70:17;71:3;74:24;                                33:5;40:22,22            wish (3)                       36:18;37:15
  75:2,18                valid (1)                    Wallace (68)                 22:19;23:18;24:2           Zipes (31)

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                                   (12) Trustee - Zipes
     Case: 19-30088            Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                       operations@escribers.net Entered: 06/01/20 16:03:12                      Page 91
                                                      of 92
PG&E CORPORATION AND                                                                          Case No. 19-30088
PACIFIC GAS AND ELECTRIC COMPANY                                                                   May 29, 2020

   49:10,12;58:13,17,         66:8,11
   18,19;59:1,1,8,10,19, 2018 (2)                                 6
   22;60:1,4,7,11,15;61:8,    7:18;62:5
   15;73:13,14,17,20;      2019 (1)                  6 (3)
   74:22;75:4,5,8;76:6,11,    65:14                     16:19;27:8;29:9
   12,19                   2020 (2)
                              3:1;65:21                           7
            1              2021 (2)
                              64:7,9                 75,000 (1)
1 (6)                      20th (1)                    52:21
   8:6,18;9:24;57:20;         12:7
   58:3;69:11              22 (2)                                 8
1,000 (1)                     8:6,18
   23:13                   23 (1)                    8 (3)
1,600 (1)                     30:15                     9:24;29:1,4
   66:20                   230 (5)                   884 (1)
1,800 (1)                     53:11,23;57:22;58:4;      30:15
   53:21                      69:12                  8th (1)
10 (3)                     27- (1)                      14:18
   9:24;64:2;77:4             52:23
100 (3)                    28 (3)                                 9
   9:12;12:4,5                8:7,18;30:15
1054 (2)                   28,000 (1)                978 (1)
   35:16;47:11                52:23                    17:21
10B (1)                    29 (1)                    9A (1)
   63:21                      3:1                      63:6
11 (7)                     29- (2)
   26:12,14;36:5;40:7,        52:24;53:6
   12,13;61:23             2nd (1)
1129 (2)                      30:13
   30:7,12
1129a11 (5)                            3
   29:2,19;30:6;33:9;
   46:5                    3 (2)
12 (1)                        27:7;40:8
   65:9                    3.5 (2)
13 (1)                        35:12,13
   66:7                    30,000 (2)
13.5 (1)                      52:24;53:6
   37:19                   31st (1)
14 (3)                        14:23
   44:15;67:1,4            330 (1)
15 (4)                        57:20
   57:17;67:17;68:1;       330- (1)
   69:8                       69:7
150 (1)                    330-million-dollar (1)
   12:5                       57:18
16th (3)                   3rd (1)
   13:23;65:19,24             5:2
17,000 (1)
   53:4                                4
19 (2)
   29:1,4                  4 (1)
1st (5)                       62:3
   40:20,24;41:1,4,8       4th (1)
                              5:4
             2
                                      5
2 (1)
   16:19                  5 (6)
20 (1)                       9:23;27:7;29:9;
   16:19                     39:24;40:11;62:14
20,000 (2)

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                      (13) 1 - 9A
     Case: 19-30088           Doc# 7701    Filed: 06/01/20 | www.escribers.net
                                      operations@escribers.net Entered: 06/01/20 16:03:12   Page 92
                                                     of 92
